               Case 22-11068-JTD              Doc 2100        Filed 07/31/23        Page 1 of 80




                                                 FTX
                               Draft Plan of Reorganization – Term Sheet

               This summary term sheet (the “Term Sheet”) describes certain material terms of
the Debtors’ draft joint plan of reorganization (as it may be amended in the future, the “Plan”) of
FTX Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”).
The Term Sheet is provided for convenience and is qualified in its entirety by the draft Plan
attached hereto, which stakeholders are encouraged to review.1

                                              I.       Background
    Purpose of the Draft Plan               The FTX cases raise unresolved factual questions and
                                            novel legal issues that affect many stakeholders. The
                                            Debtors have decided to file the draft Plan publicly at a
                                            relatively early stage – before the expiration of customer
                                            bar dates, the completion of pending investigations, the
                                            resolution of important negotiations with Consulting
                                            Parties (as defined below) and the preparation of a
                                            disclosure statement – in order to facilitate creditor
                                            feedback and the consensual resolution of certain issues.
                                            The Debtors expect to amend the Plan in light of the
                                            feedback received from Consulting Parties (as defined
                                            below) and other stakeholders and file an amended Plan of
                                            reorganization and accompanying disclosure statement in
                                            the Fourth Quarter of 2023.
    Importance of Waiting to                The Bankruptcy Code requires the Debtors to prepare and
    Review a Disclosure Statement           circulate a disclosure statement prior to soliciting
                                            stakeholder approval of a plan of reorganization. Neither
                                            the draft Plan, this Term Sheet nor any other materials the
                                            Debtors may circulate should be regarded as a solicitation
                                            of acceptances of a chapter 11 plan for purposes of the
                                            Bankruptcy Code. Stakeholders are asked to reserve
                                            judgment on all the matters raised by the Plan until the
                                            amended Plan is available and a disclosure statement is
                                            prepared and approved by the Bankruptcy Court.
    The Plan as a Complex                   The draft Plan provides an initial construct for a global
    Settlement                              settlement and good-faith compromise of an exceptionally
                                            large and complicated collection of claims, causes of

1
         This Term Sheet and the draft Plan filed contemporaneously herewith have not been approved by the
         Bankruptcy Court. The Debtors have filed the Term Sheet and the draft Plan for purposes of aiding
         discussion and negotiation with their stakeholders. Nothing contained herein or in the draft Plan shall
         constitute an offer, acceptance, commitment, or legally binding obligation of the Debtors or any other party
         in interest.
         Case 22-11068-JTD   Doc 2100        Filed 07/31/23   Page 2 of 80




                             actions and disputes involving the Debtors, including both
                             claims against the Debtors and intercompany claims by
                             various Debtors against other Debtors. Generally
                             speaking, the global settlement involves:

                                1. the valuation of claims in U.S. dollars as of the
                                   Petition Date based on a valuation methodology
                                   that will be separately prepared by the Debtors and
                                   approved by the Bankruptcy Court;
                                2. disputes regarding the ownership of the assets held
                                   on the FTX.com and FTX US exchanges based on
                                   the applicable terms of service and trust doctrines;
                                3. the identification of three primary recovery pools,
                                   corresponding to segregated assets attributable to
                                   FTX.com customers, segregated assets attributable
                                   to FTX US customers, and other assets that the
                                   Debtors contend are not clearly attributable to the
                                   exchanges;
                                4. the recognition of special “shortfall” claims by the
                                   FTX.com and FTX US exchanges for the benefit of
                                   their customers against the pool of general assets,
                                   to compensate the exchanges for the unauthorized
                                   borrowing and/or misappropriation of assets held
                                   on the exchanges;
                                5. the cancellation of intercompany claims (other than
                                   as represented under the Plan as the Dotcom
                                   Intercompany Shortfall Claim and U.S.
                                   Intercompany Shortfall Claim) and the substantive
                                   consolidation of the estates of substantially all of
                                   the Debtors, other than certain excluded non-U.S.
                                   entities who are solvent and whose corporate
                                   separateness was historically respected;
                                6. the subordination of certain claims to the pecuniary
                                   losses of customers and creditors;
                                7. the extinguishment of FTT claims in recognition of
                                   the equity-like characteristics of FTT, as well as
                                   the extinguishment of all other equity interests; and
                                8. the liquidation of the estates of the Debtors and the
                                   payment of distributions to customers and creditors
                                   in cash, subject to certain voluntary elections that
                                   may be available to customers in connection with a
                                   restart of an offshore exchange or otherwise.
Key Open Items               The draft Plan does not purport to resolve certain open
                             questions under discussion among the Debtors, Consulting
                             Parties and other of the Debtors’ stakeholders. Important


                                       -2-
          Case 22-11068-JTD    Doc 2100       Filed 07/31/23   Page 3 of 80




                              questions to be resolved before filing the amended Plan
                              include the following.
                                  1. What is the expected size of the various classes of
                                     claims, recovery pools and estimates of creditor
                                     recoveries?
                                  2. What is the fair and appropriate amount of priority
                                     that should be given to the exchange shortfall
                                     claims against the general pool of assets?
                                  3. The decision and manner in which the FTX.com
                                     exchange is sold or reorganized and what is the
                                     relationship between any future exchange and the
                                     other elements of the Plan?
                                  4. How should claims be traded or transferred once a
                                     Plan becomes effective? Whether claims should be
                                     evidenced by a recovery rights token or other
                                     digital asset and the ramifications of such
                                     structure?
                                  5. The corporate governance and future stewardship
                                     of the Offshore Exchange Company, the Venture
                                     Trust and the other post-confirmation entities
                                     described in the Plan and the extent to which the
                                     various creditor groups should be involved in such
                                     governance determinations.
                                  6. As the nature and extent of claims become more
                                     clear, are there amendments to the Plan required to
                                     confirm that it is in the best interests of all
                                     creditors?
Stakeholder Involvement       Over the past several weeks, the Debtors have discussed
                              the elements of their Plan with representatives of the
                              Creditors’ Committee, the Ad Hoc Committee of Non-US
                              Customers of FTX.com, the customer adversary plaintiffs
                              prosecuting Onusz, et al. v. West Realm Shires Inc., et al.,
                              Case No. 22-50513 (JTD) (Bankr. D. Del.) and certain
                              individual stakeholders (collectively, the “Consulting
                              Parties”). The draft Plan reflects input from these
                              representatives on many issues, although there are issues
                              that the Consulting Parties have raised opposition to that
                              will be negotiated with the Debtors and open issues yet to
                              be discussed. All parties’ rights are accordingly reserved
                              as discussions continue. The Debtors may change the draft
                              Plan at any time, including in response to stakeholder
                              input.




                                        -3-
          Case 22-11068-JTD      Doc 2100       Filed 07/31/23    Page 4 of 80




                                II.    Debtor Entities
Modified Substantive            Under the Plan, the estates of all Debtors other than the
Consolidation                   Separate Subsidiaries (as defined below) will be
                                substantively consolidated as of the effective date of the
                                Plan for the purposes of voting, confirmation and
                                distributions under the classification system proposed by
                                the Plan. Substantive consolidation and the classification
                                proposed by the Plan are parts of an integrated settlement
                                and compromise of claims among and against the Debtors.
                                The Plan will not result in the merger or affect the separate
                                legal existence of any Debtor for any other purpose.
Separate Subsidiaries           The Debtors may identify certain subsidiaries that are
                                solvent and historically separate (“Separate Subsidiaries”).
                                The Separate Subsidiaries will be excluded from
                                substantive consolidation for purposes of the Plan, and
                                claims against the Separate Subsidiaries will be separately
                                classified and paid in full in cash or otherwise left
                                unimpaired.

Dismissed Subsidiaries          The Debtors may identify certain subsidiaries whose
                                Chapter 11 cases may be dismissed prior to confirmation
                                of the Plan. These Debtor subsidiaries will be liquidated
                                and wound down pursuant to local proceedings and will be
                                excluded from the Plan.

                         III.   Classification and Treatment
General                         Claims and interests will be classified in classes (each, a
                                “Class”) as set forth in the Exhibit I hereto.
                                Administrative claims and certain other special priority
                                claims will not be classified and will be paid in full in cash
                                in accordance with the Bankruptcy Code.

Priority Claims                 Allowed priority claims will be paid in full in cash or
(Class 1)                       receive such treatment as may be permitted under the
                                Bankruptcy Code.
Secured Claims                  Allowed secured claims will be paid in full in cash or
(Class 2)                       receive such treatment as may be permitted under the
                                Bankruptcy Code.
Separate Subsidiaries           Allowed claims against Separate Subsidiaries will be paid
(Class 3)                       in full in cash, unless another distribution is agreed with
                                the holder of a claim. After all claims against a Separate
                                Subsidiary are paid or resolved, the Separate Subsidiary


                                          -4-
          Case 22-11068-JTD       Doc 2100       Filed 07/31/23   Page 5 of 80




                                 will be liquidated or sold and the remaining value made
                                 available to other Debtors.

Dotcom Customer Entitlements All customers of FTX.com (other than holders of NFTs)
(Class 4A)                   will constitute a single class, regardless of the type of
                             token or product held and will have a claim in an amount
                             equal to the USD value of their customer entitlements on
                             FTX.com at the petition time (a “Dotcom Customer
                             Entitlement”), to the extent allowed.
                                 Each holder of an allowed Dotcom Customer Entitlement
                                 will receive a pro rata share of the Dotcom Customer Pool
                                 (defined below).

U.S. Customer Entitlements       All customers of FTX US (other than holders of NFTs)
(Class 4B)                       will constitute a single class, regardless of the type of
                                 token or product held, and will have a claim in an amount
                                 equal to the USD value of their customer entitlements on
                                 FTX US at the petition time (a “U.S. Customer
                                 Entitlement”), to the extent allowed.
                                 Each holder of an allowed U.S. Customer Entitlement will
                                 receive a pro rata share of the U.S. Customer Pool
                                 (defined below).

NFT Entitlements                 Holders of non-fungible tokens (“NFTs”) as of the petition
(Class 4C)                       date will be classified separately. NFTs will be returned in
                                 kind to the applicable customer unless the NFT is missing
                                 or was destroyed, in which case the applicable customer
                                 will have a Class 4A claim (if the applicable customer is
                                 an FTX.com customer) or a Class 4B claim (if the
                                 applicable customer is a U.S. Customer) for the petition
                                 time value of the NFT.

General Unsecured Claims         Claims of customers or creditors not otherwise classified
(Class 5)                        will be Class 5 claims (“General Unsecured Claims”).

                                 Class 5 is expected to include:
                                  (a) trade and vendor claims;
                                  (b) contract rejection claims against all Debtors;
                                  (c) claims by lenders and trading partners of Alameda
                                       Research LLC or its direct and indirect subsidiaries
                                       (collectively, “Alameda”);
                                  (d) where preference actions (other than with respect to
                                       customer entitlements) are successful,
                                       “replacement” claims by the creditors who had to
                                       repay the preference;


                                           -5-
            Case 22-11068-JTD    Doc 2100       Filed 07/31/23   Page 6 of 80




                                  (e) claims by customers or creditors of non-debtors (or
                                      by their insolvency estates) alleging that one or
                                      more Debtors are liable for claims against such non-
                                      debtors;
                                  (f) any foreign tax or other tax claims that are not
                                      priority claims; and
                                  (g) other general unsecured claims.
                                Each holder of an allowed General Unsecured Claim will
                                receive a pro rata share of General Pool distributions
                                available to Class 5 claims in accordance with the waterfall
                                priorities set forth under “General Pool Waterfall” below.

Convenience Classes             Holders of claims in a Convenience Class will receive a
(Classes 6A-C)                  one-time distribution in cash at a fixed amount to be
                                determined in the Plan. Such amount will be different for
                                each convenience class based on the net present value of
                                projected recoveries for the analogous classes 4A, 4B and
                                5 at the time of the Plan.

Intercompany Claims/Interests   Intercompany claims and interests (other than as set forth
(Classes 7 and 8)               in the Plan) will be compromised and eliminated in the
                                Plan. Claims and interests in Classes 7 and 8 do not
                                include—and the Plan will preserve—the Debtors’
                                investments in non-Debtor subsidiaries and all related
                                claims.

Subordinated Claims             Class 9 consists of claims for regulatory fines and
(Class 9)                       penalties, U.S. federal and state income taxes, similar
                                foreign taxes and any other claim that has been
                                subordinated on the basis of structural subordination,
                                equitable subordination, laws or policies subordinating
                                recoveries to claims by victims of crime or fraud, or any
                                other grounds available under applicable law.

FTT and Equity Classes          Classes 10, 11, 12 and 13 consist of claims by holders of
(Classes 10-13)                 FTT (whether or not held on any FTX exchange),
                                preferred stock and equity investors in the Debtors and
                                related claims. All these claims and interests will be
                                canceled and extinguished as of the Effective Date and
                                holders will not receive any distribution.

Valuation                       Where a customer entitlement or other claim reflects an
                                underlying digital asset (other than an NFT), the claim will
                                be liquidated in USD based on the fair market value at the
                                petition time. The fair market value will be determined


                                          -6-
          Case 22-11068-JTD    Doc 2100       Filed 07/31/23   Page 7 of 80




                              based on a matrix (the “Valuation Matrix”) attached to an
                              Omnibus Estimation Motion filed by the Debtors in
                              advance of Plan solicitation and prepared with input from
                              independent experts engaged by the Debtors for that
                              purpose.
Customer Preferences          The Debtors anticipate that the Plan will include settlement
                              procedures with respect to customer preferences below
                              thresholds to be determined, facilitating the resolution of
                              preference liabilities as part of an integrated claims
                              resolution process for customers.
                              IV.     Recovery Pools
Dotcom Customer Pool          Each holder of a Dotcom Customer Entitlement will
                              receive a pro rata share (based on relative USD claim
                              value) of the proceeds from a pool of assets associated
                              with the FTX.com exchange (the “Dotcom Customer
                              Pool”), net of distributions to the Dotcom Customer
                              Convenience Class and allocable expenses.
                              The Dotcom Customer Pool will include:
                               (a) all fiat in segregated FBO accounts associated with
                                   FTX.com on the Petition Date;
                               (b) all digital assets in the AWS wallets associated with
                                   FTX.com on the Petition Date;
                               (c) any hack recoveries relating to digital assets in those
                                   wallets (pre- or post-petition);
                               (d) all recoveries of preferences paid to customers off
                                   the FTX.com platform;
                               (e) all net recoveries from the Bahamian subsidiaries,
                                   FTX Digital Markets Ltd. (“FTX DM”) or FTX
                                   Property Holdings Ltd (“FTX Bahamas Propco”), of
                                   any sort, whether from the Debtors’ equity interest
                                   in those subsidiaries or from claims against them;
                               (f) all net proceeds from the sale or recapitalization of
                                   the Offshore Exchange Company (as defined
                                   below), including any cash or other consideration as
                                   well as any the capital stock of the Offshore
                                   Exchange Company (as defined below) retained by
                                   the Debtors for distribution to stakeholders in the
                                   Plan; and
                               (g) a historical shortfall claim against the General Pool
                                   (defined below) (the “Dotcom Exchange Shortfall
                                   Claim”) in an amount equal to the estimated
                                   difference between FTX.com aggregate customer




                                        -7-
          Case 22-11068-JTD    Doc 2100       Filed 07/31/23   Page 8 of 80




                                    entitlements and aggregate exchange assets at the
                                    petition time, as determined by the Debtors.
                              No other prepetition creditor will have claims against the
                              Dotcom Customer Pool.

U.S. Customer Pool            Each holder of a U.S. Customer Entitlement will receive a
                              pro rata share (based on relative USD claim value) of the
                              proceeds from a pool of assets associated with the FTX US
                              exchange (the “U.S. Customer Pool”), net of distributions
                              to the U.S. Customer Convenience Class and allocable
                              expenses; provided that the pro rata shares of U.S.
                              Customer Entitlement holders against the U.S. Customer
                              Pool will be calculated in a manner that respects the status
                              of Alameda as a customer of FTX US. The distributions to
                              Alameda will be deposited into the General Pool (defined
                              below) for reallocation among all other creditors
                              (including the Dotcom Shortfall Claim).
                              The “U.S. Customer Pool” will include:
                               (a) all fiat in segregated FBO accounts associated with
                                    FTX US on the Petition Date;
                               (b) digital assets in the AWS wallets associated with
                                    FTX US on the Petition Date;
                               (c) any hack recoveries relating to digital assets in those
                                    wallets (pre- or post-petition);
                               (d) all recoveries of preferences paid to customers off
                                    the FTX US platform;
                               (e) all proceeds from the sale of FTX US or any
                                    associated property; and
                               (f) an historical shortfall claim against the General Pool
                                    (defined below) (the “U.S. Exchange Shortfall
                                    Claim”) in an amount equal to the estimated
                                    difference between aggregate customer entitlements
                                    and aggregate FTX US exchange assets at the
                                    petition time, as determined by the Debtors.
                              No other creditor will have claims against the U.S.
                              Customer Pool.

General Pool                  The general pool (the “General Pool”) will include all
                              property of the estate that is not in the Dotcom Customer
                              Pool, the U.S. Customer Pool or property of a Separate
                              Subsidiary.
                              The General Pool will include at least the following and all
                              related proceeds:



                                        -8-
          Case 22-11068-JTD    Doc 2100           Filed 07/31/23   Page 9 of 80




                                (a) all fiat and digital assets not allocated to the Dotcom
                                    Customer Pool, the U.S. Customer Pool or a
                                    Separate Subsidiary;
                                (b) all recoveries from non-Debtor subsidiaries (other
                                    than FTX DM);
                                (c) all distributable value at the Separate Subsidiaries
                                    after payment of Class 3 claims;
                                (d) all preference actions not associated with either
                                    FTX.com or FTX US;
                                (e) all other avoidance actions and litigation claims ,
                                    regardless of the particular Debtor(s) who may bring
                                    such actions under applicable law;
                                (f) all net proceeds from the unwinding of the venture
                                    book and other investments;
                                (g) the portion of the U.S. Customer Pool
                                    corresponding to Alameda’s positions on the FTX
                                    US platform;
                                (h) the residual interests in the Dotcom Customer Pool
                                    and the U.S. Customer Pool (available only when
                                    Dotcom Customer Entitlements or U.S. Customer
                                    Entitlements, as applicable, are paid in full); and
                                (i) the proceeds from the sale or monetization of all
                                    other property of the estate.
                              Proceeds in the General Pool will be allocated as discussed
                              under “General Pool Waterfall” below.
General Pool Waterfall        Proceeds in the General Pool will be allocated in the
                              following manner:
                                       first, to pay administrative expenses and secured and
                                        priority claims allocable to the General Pool;
                                       second, to pay General Convenience Claims as set
                                        forth in the Plan;
                                       third, with respect to [•] percent of the amount next
                                        available for distribution from the General Pool, to
                                        pay the Dotcom Exchange Shortfall Claim and the
                                        U.S. Exchange Shortfall Claim on a Pro Rata basis;
                                       fourth, with respect to the remaining amount
                                        available for distribution from the General Pool, to
                                        pay General Unsecured Claims, the Dotcom
                                        Exchange Shortfall Claim and the U.S. Exchange
                                        Shortfall Claim on a Pro Rata basis; and
                                        fifth, to pay Subordinated Claims



                                            -9-
         Case 22-11068-JTD   Doc 2100        Filed 07/31/23   Page 10 of 80




                             The General Pool waterfall works to establish a modified
                             priority for the U.S. Exchange Shortfall Claim and the
                             Dotcom Exchange Shortfall Claim against assets in the
                             General Pool at the expense of General Unsecured
                             Creditors, providing a mechanism to implement a
                             settlement of potential misappropriation, constructive trust,
                             equitable tracing and other claims by the exchanges
                             against other Debtors for the benefit of exchange
                             customers. The Debtors will determine the percentage of
                             the General Pool available on a priority basis following
                             negotiations with Consulting Parties and other
                             stakeholders.

Expense Allocation           Case expenses and professional fees and expenses as a
                             general matter will be allocated as between the General
                             Pool and the customer pools based on the Debtors’
                             estimate of relative distributable value in each pool as of
                             the date of confirmation of the Plan; provided that the
                             Debtors will first allocate to the Dotcom Customer Pool
                             any expenses related to FTX DM or FTX Bahamas Propco
                             or the sale, ‘reboot’ or reorganization of FTX.com.

                             V.     Implementation
Offshore Exchange Company    The property of the Debtors associated with the ownership
                             and operation of FTX.com will be gathered and marketed
                             in a competitive process for the benefit of the Dotcom
                             Customer Pool. As part of this competitive process, the
                             Debtors may decide to establish in collaboration with third
                             party investors a new company in a jurisdiction outside of
                             the United States to operate a “rebooted” offshore platform
                             not available to U.S. investors (an “Offshore Exchange
                             Company”) or enter into a merger or similar transaction.
                             Rather than all cash, the Debtors may determine that the
                             Offshore Exchange Company remit non-cash consideration
                             to the Dotcom Customer Pool in the form of equity
                             securities, tokens or other interests in the Offshore
                             Exchange Company, or rights to invest in such equity
                             securities, tokens or other interests (“Take-Back
                             Interests”). Any Take-Back Interests will be made
                             available to holders of Dotcom Customer Entitlements on
                             a pro rata basis, subject to applicable securities and other
                             laws.
                             The Debtors reserve the right not to proceed with an
                             Offshore Exchange Company if the Debtors determine that


                                      -10-
          Case 22-11068-JTD   Doc 2100        Filed 07/31/23   Page 11 of 80




                              doing so may delay effectiveness of the remaining
                              components of the Plan, create regulatory concerns or fail
                              to yield material incremental value to holders of Dotcom
                              Customer Entitlements.

Venture Trust                 The Debtors also may establish a new limited liability trust
                              company (the “FTX Ventures Trust”) to hold the Debtors’
                              illiquid venture capital, private company and token
                              investments that are not being sold at the time of
                              effectiveness and are not anticipated to be sold by the plan
                              administrator promptly after effectiveness as part of the
                              Wind-Down Estate (defined below). The purpose of the
                              FTX Ventures Trust will be to make cash distributions on
                              a time horizon to be determined based on the nature of its
                              investments. The Debtors have made no determination
                              whether the FTX Ventures Trust will be owned by the
                              Wind-Down Estate or separately traded.

Wind-Down Estate              The other property of the estates will be maintained as a
                              wind-down estate (the “Wind-Down Estate”) administered
                              by the Debtors and the plan administrator. The plan
                              administrator will be the CRO and will report to the
                              incumbent Board of Directors of the Debtors.
                              The Wind-Down Estate will manage the business of
                              closing the chapter 11 cases, reconciling claims,
                              implementing AML and KYC compliance requirements,
                              monetizing remaining assets and liquidating the Debtors
                              and their non-Debtor subsidiaries.

Distributions                 Distributions other than Take-Back Interests in the
                              Offshore Exchange Company and NFTs will be made in
                              cash in USD. The Debtors will convert any remaining
                              digital assets to USD in an orderly manner after the
                              effectiveness of the Plan. The Debtors will determine the
                              investment principles for the management of cash prior to
                              distribution, subject to parameters established in the Plan.
                              Distributions will not be made on claims held by the
                              recipient of a preference or other avoidable transfer until
                              any related avoidance claim has been settled or resolved by
                              the court. The Debtors reserve the right to enforce
                              preference and avoidance claims against subsequent
                              transferees to the full extent permitted by law.




                                       -11-
         Case 22-11068-JTD   Doc 2100         Filed 07/31/23   Page 12 of 80




                             The Debtors are exploring alternatives related to claims
                             trading after the effective date of the Plan, subject to
                             appropriate securities law, AML and KYC arrangements.
Anti-Double Dip              The Plan is premised on a centralized distribution process
                             in which each holder receives that same recovery as
                             another similarly-situated holder. The plan administrator
                             may require any holder of a claim to submit satisfactory
                             evidence that such holder has not requested or received
                             compensation for the same losses underlying such claim in
                             connection with any other judicial or administrative
                             proceeding (including without limitation any proceedings
                             with respect to FTX Australia, FTX DM, FTX Turkey or
                             FTX EU), and may refrain from making distributions on
                             such claim until such time as satisfactory evidence is
                             obtained or appropriate arrangements are in place ensuring
                             that no holder receives more than any other holder under
                             the Plan after taking into account such other potential
                             recoveries.
                             As a condition to receiving any distribution in the Plan, the
                             plan administrator may require holders of claims in
                             Classes 4A-C or Class 5 to assign to the plan administrator
                             all right, title and interest in any claim for the same losses
                             that have been or may be made in any other judicial or
                             administrative proceeding relating to the FTX group
                             (including without limitation any claim in any proceeding
                             with respect to FTX Australia, FTX DM, FTX Turkey or
                             FTX EU).




                                       -12-
              Case 22-11068-JTD              Doc 2100          Filed 07/31/23       Page 13 of 80




                                                     Exhibit I

                                     Classification – Summary Chart1

    Class                 Claims and Interests                           Status              Voting Rights
     1                     Other Priority Claims                      Unimpaired         Not Entitled to Vote,
                                                                                          Deemed to Accept
     2                    Other Secured Claims                        Unimpaired         Not Entitled to Vote,
                                                                                          Deemed to Accept
     3                 Separate Subsidiary Claims                     Unimpaired         Not Entitled to Vote,
                                                                                          Deemed to Accept
     4A              Dotcom Customer Entitlements                       Impaired            Entitled to Vote
     4B                U.S. Customer Entitlements                       Impaired            Entitled to Vote
     4C                      NFT Entitlements                           Impaired            Entitled to Vote
     5                  General Unsecured Claims                        Impaired            Entitled to Vote
     6A                Dotcom Convenience Class                         Impaired            Entitled to Vote
     6B                   US Convenience Class                          Impaired            Entitled to Vote
     6C                General Convenience Class                        Impaired            Entitled to Vote
     7                     Intercompany Claims                          Impaired         Not Entitled to Vote,
                                                                                          Deemed to Reject
     8                    Intercompany Interests                        Impaired         Not Entitled to Vote,
                                                                                          Deemed to Reject
     9                     Subordinated Claims                          Impaired            Entitled to Vote
     10                          FTT Claims                             Impaired         Not Entitled to Vote,
                                                                                          Deemed to Reject
     11                 Preferred Equity Interests                      Impaired         Not Entitled to Vote,
                                                                                          Deemed to Reject
     12                   Section 510(b) Claims                         Impaired         Not Entitled to Vote,
                                                                                          Deemed to Reject
     13                   Other Equity Interests                        Impaired         Not Entitled to Vote,
                                                                                          Deemed to Reject



1
         The Debtors’ investigation into claims is ongoing and classification is subject to change.


                                                        -13-
                Case 22-11068-JTD             Doc 2100        Filed 07/31/23        Page 14 of 80




                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

                                                             x
    In re                                                    :
                                                                     Chapter 11
                                                             :
                                                             :
    FTX TRADING LTD., et al.,1                                       Case No. 22-11068 (JTD)
                                                             :
                                                             :
                                             Debtors.                (Jointly Administered)
                                                             :
                                                             x

                     JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
                      FTX TRADING LTD. AND ITS DEBTOR AFFILIATES

          THIS IS A DRAFT PLAN THAT HAS NOT BEEN APPROVED BY THE
      BANKRUPTCY COURT. THE DEBTORS HAVE FILED THIS DRAFT PLAN FOR
    PURPOSES OF AIDING THEIR DISCUSSIONS AND NEGOTIATIONS WITH THEIR
       STAKEHOLDERS AND NOT FOR SOLICITATION OF AN ACCEPTANCE OR
    REJECTION OF THE PLAN. NOTHING CONTAINED IN THE DRAFT PLAN SHALL
        CONSTITUTE AN OFFER, ACCEPTANCE, COMMITMENT, OR LEGALLY
    BINDING OBLIGATION OF THE DEBTORS OR ANY OTHER PARTY IN INTEREST.
        THIS DRAFT PLAN IS SUBJECT TO CONTINUING NEGOTIATIONS AND
                             MATERIAL CHANGE.

            THIS PLAN IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES.
             YOU SHOULD NOT RELY ON THE INFORMATION CONTAINED IN,
             OR THE TERMS OF, THIS PLAN FOR ANY PURPOSE PRIOR TO THE
              CONFIRMATION OF THE PLAN BY THE BANKRUPTCY COURT.



    Andrew G. Dietderich (admitted pro hac vice)              Adam G. Landis (No. 3407)
    James L. Bromley (admitted pro hac vice)                  Matthew B. McGuire (No. 4366)
    Brian D. Glueckstein (admitted pro hac vice)              Kimberly A. Brown (No. 5138)
    Alexa J. Kranzley (admitted pro hac vice)                 Matthew R. Pierce (No. 5946)
    SULLIVAN & CROMWELL LLP                                   LANDIS RATH & COBB LLP
    125 Broad Street                                          919 Market Street, Suite 1800
    New York, New York 10004                                  Wilmington, Delaware 19801
    Telephone: (212) 558-4000                                 Telephone: (302) 467-4400

1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
      4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
      list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
      is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
          Case 22-11068-JTD       Doc 2100   Filed 07/31/23   Page 15 of 80




Facsimile: (212) 558-3588                    Facsimile: (302) 467-4450
E-mail: dietdericha@sullcrom.com             E-mail: landis@lrclaw.com
        bromleyj@sullcrom.com                        mcguire@lrclaw.com
        gluecksteinb@sullcrom.com                    brown@lrclaw.com
        kranzleya@sullcrom.com                       pierce@lrclaw.com

Counsel for the Debtors and Debtors-in-      Counsel for the Debtors and Debtors-in-
Possession                                   Possession


Dated: [•], 2023
            Case 22-11068-JTD                    Doc 2100             Filed 07/31/23              Page 16 of 80




                                             TABLE OF CONTENTS

                                                                                                                                     Page

1.   INTRODUCTION ...............................................................................................................1
     1.1.      Introduction ............................................................................................................. 1
     1.2.      Dismissed Chapter 11 Cases ................................................................................... 1

2.   DEFINITIONS AND RULES OF INTERPRETATION ....................................................2
     2.1.      Defined Terms ........................................................................................................ 2
     2.2.      Rules of Interpretation .......................................................................................... 17
     2.3.      Governing Law ..................................................................................................... 18
     2.4.      Computation of Time ............................................................................................ 18

3.   ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS..........................................19
     3.1.      Administrative Claim Bar Date ............................................................................ 19
     3.2.      General Administrative Claims............................................................................. 19
     3.3.      503(b)(9) Claims ................................................................................................... 20
     3.4.      Professional Claims .............................................................................................. 20
     3.5.      Statutory Fees Payable Pursuant to 28 U.S.C. § 1930 .......................................... 21
     3.6.      Priority Tax Claims ............................................................................................... 21
     3.7.      Expense Allocation ............................................................................................... 21

4.   CLASSIFICATION, TREATMENT AND VOTING OF CLAIMS AND
     INTERESTS ......................................................................................................................22
     4.1.      Classification of Claims and Interests................................................................... 22
     4.2.      General Pool Waterfall ......................................................................................... 23
     4.3.      Treatment of Claims and Interests ........................................................................ 23
     4.4.      Valuation of Claims .............................................................................................. 30
     4.5.      Special Provision Governing Unimpaired Claims ................................................ 30
     4.6.      Acceptance by Impaired Classes .......................................................................... 30
     4.7.      Elimination of Vacant Classes .............................................................................. 30
     4.8.      Voting Classes; Presumed Acceptance by Non-Voting Classes........................... 30
     4.9.      Confirmation Pursuant to Sections 1129(a) and 1129(b) of the Bankruptcy
               Code ...................................................................................................................... 30

5.   IMPLEMENTATION OF THE PLAN .............................................................................31
     5.1.      Operations Between the Confirmation Date and Effective Date .......................... 31
     5.2.      Global Settlement of Claims and Interests............................................................ 31
     5.3.      Substantive Consolidation .................................................................................... 32
     5.4.      Wind Down Estates............................................................................................... 33
     5.5.      Plan Funding Mechanism ..................................................................................... 33
     5.6.      Plan Administrator ................................................................................................ 33
     5.7.      Vesting of Assets .................................................................................................. 33
     5.8.      D&O Policies ........................................................................................................ 34
                                                                -i-
            Case 22-11068-JTD                   Doc 2100              Filed 07/31/23             Page 17 of 80




     5.9.     Cancelation of Existing Interests .......................................................................... 34
     5.10.    Section 1146 Exemption from Certain Transfer Taxes and Recording Fees........ 34
     5.11.    Preservation of Causes of Action .......................................................................... 35
     5.12.    Effectuating Documents and Further Transactions............................................... 35

6.   TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES ..........36
     6.1.     Rejection of Executory Contracts and Unexpired Leases..................................... 36
     6.2.     Claims Against the Debtors upon Rejection ......................................................... 36
     6.3.     Modification, Amendments, Supplements, Restatements or Other
              Agreements ........................................................................................................... 36
     6.4.     Reservation of Rights............................................................................................ 37

7.   PROVISIONS GOVERNING DISTRIBUTIONS ............................................................38
     7.1.     Distributions Timing ............................................................................................. 38
     7.2.     Distributions to Holders of Customer Entitlement Claims ................................... 38
     7.3.     Record Date and Delivery of Distributions .......................................................... 39
     7.4.     Distribution Agent ................................................................................................ 40
     7.5.     Fractional and De Minimis Distributions .............................................................. 40
     7.6.     Undeliverable Distributions .................................................................................. 40
     7.7.     Reversion .............................................................................................................. 41
     7.8.     Surrender of Canceled Instruments or Securities.................................................. 41
     7.9.     Setoffs ................................................................................................................... 41
     7.10.    No Interest on Claims ........................................................................................... 41
     7.11.    No Payment over the Full Amount ....................................................................... 42
     7.12.    Compliance with Tax Requirements ..................................................................... 43
     7.13.    Tax Identification, KYC and OFAC Certifications .............................................. 43

8.   CLAIMS ADMINISTRATION PROCEDURES ..............................................................44
     8.1.     Objections to Claims ............................................................................................. 44
     8.2.     Estimation of Claims............................................................................................. 44
     8.3.     Expungement and Disallowance of Claims .......................................................... 44
     8.4.     Amendments to Proofs of Claim........................................................................... 45
     8.5.     No Distributions Pending Allowance ................................................................... 45
     8.6.     Distributions After Allowance .............................................................................. 45
     8.7.     Administration Responsibilities ............................................................................ 45
     8.8.     Claims Paid or Payable by Third Parties .............................................................. 46

9.   CONDITIONS PRECEDENT TO EFFECTIVENESS OF THE PLAN ..........................47
     9.1.     Conditions Precedent to the Effective Date .......................................................... 47
     9.2.     Waiver of Conditions ............................................................................................ 48
     9.3.     Simultaneous Transactions ................................................................................... 48
     9.4.     Effect of Non-Occurrence of the Effective Date .................................................. 48
     9.5.     Notice of Effective Date ....................................................................................... 48



                                                               -ii-
             Case 22-11068-JTD                     Doc 2100              Filed 07/31/23             Page 18 of 80




10.   SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS ...............49
      10.1.      Subordinated Claims ............................................................................................. 49
      10.2.      Non-Discharge of Debtors; Resolution of Claims and Termination of
                 Interests ................................................................................................................. 49
      10.3.      Release of Liens .................................................................................................... 49
      10.4.      Debtors’ Release ................................................................................................... 50
      10.5.      Voluntary Release by Holders of Claims and Interests ........................................ 51
      10.6.      Scope of Releases ................................................................................................. 51
      10.7.      Exculpation ........................................................................................................... 52
      10.8.      Injunction .............................................................................................................. 52
      10.9.      Limitations on Exculpations and Releases ........................................................... 53

11.   MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN ....................53
      11.1.      Modification of Plan ............................................................................................. 53
      11.2.      Effect of Confirmation on Modification ............................................................... 53
      11.3.      Revocation of Plan ................................................................................................ 53

12.   RETENTION OF JURISDICTION ...................................................................................55
      12.1.      Retention of Jurisdiction ....................................................................................... 55

13.   MISCELLANEOUS PROVISIONS ..................................................................................57
      13.1. Immediate Binding Effect ..................................................................................... 57
      13.2. Additional Documents; Further Assurances ......................................................... 57
      13.3. Reservation of Rights............................................................................................ 57
      13.4. Successors and Assigns......................................................................................... 57
      13.5. Term of Injunction or Stays .................................................................................. 57
      13.6. Entire Agreement .................................................................................................. 58
      13.7. Exhibits ................................................................................................................. 58
      13.8. Nonseverability of Plan Provisions upon Confirmation ....................................... 58
      13.9. Dissolution of Committee ..................................................................................... 58
      13.10. Termination of Fee Examiner’s Appointment ...................................................... 59
      13.11. Debtors’ Directors and Officers ............................................................................ 59
      13.12. Post-Confirmation Operating Reports .................................................................. 59
      13.13. Closing of Chapter 11 Cases ................................................................................. 59
      13.14. Conflicts ................................................................................................................ 59
      13.15. No Stay of Confirmation Order ............................................................................ 59
      13.16. Waiver or Estoppel ............................................................................................... 60
      13.17. Post-Effective Date Service .................................................................................. 60
      13.18. Notices .................................................................................................................. 60




                                                                 -iii-
                Case 22-11068-JTD          Doc 2100        Filed 07/31/23       Page 19 of 80




1.       INTRODUCTION

         1.1.        Introduction

               FTX Trading Ltd. (“FTX Trading”) and its affiliated debtors and debtors-in-
possession in the above-captioned Chapter 11 Cases (collectively, the “Debtors”), propose the
following joint plan of reorganization (including the Plan Supplement and all other exhibits and
schedules thereto, the “Plan”) pursuant to section 1121(a) of the Bankruptcy Code. These
Chapter 11 Cases are being jointly administered pursuant to an order entered by the Court on
November 22, 2022 [D.I. 128]. Each Debtor is a proponent of the Plan for purposes of
section 1129 of the Bankruptcy Code.

         1.2.        Dismissed Chapter 11 Cases

              The following entities were Debtors as of the Petition Date but are no longer
Debtors and are not included in the Plan:

                     (a)    the chapter 11 case of FTX Turkey Teknoloji ve Ticaret Anonim Şirketi
                            (“FTX Turkey”) was dismissed on February 13, 2023 [D.I. 711];

                     (b)    the chapter 11 case of SNG Investments Yatırım ve Danışmanlık Anonim
                            Şirketi (“SNG Investments”) was dismissed on February 13, 2023
                            [D.I. 711]; and

                     (c)    the chapter 11 case of [•] was dismissed on [•] [D.I. [•]].2




2
     Note to Draft: The Debtors may identify certain Debtor subsidiaries whose Chapter 11 cases may be dismissed
     prior to confirmation of the Plan. Such subsidiaries will be liquidated and wound down pursuant to local
     proceedings and will be excluded from the Plan.



4893-6502-2833 v.6
                   Case 22-11068-JTD       Doc 2100       Filed 07/31/23   Page 20 of 80




2.       DEFINITIONS AND RULES OF INTERPRETATION

         2.1.         Defined Terms

              Except as otherwise provided herein, each capitalized term used in this Plan shall
have the meaning set forth below.

           2.1.1       “503(b)(9) Claim” means a Claim arising under section 503(b)(9) of the
     Bankruptcy Code for which a Proof of Claim was filed on or before the General Non-
     Customer Bar Date.

            2.1.2        “Administrative Claim” means any Claim for costs and expenses of
     administration of the Chapter 11 Cases of a kind specified under section 503(b) of the
     Bankruptcy Code arising on or prior to the Effective Date and entitled to priority pursuant to
     sections 507(a)(2), 507(b) or 1114(e)(2) of the Bankruptcy Code; provided that
     Administrative Claims shall not include 503(b)(9) Claims.

             2.1.3       “Administrative Claim Bar Date” means: (a) 4:00 p.m. (Eastern Time) on
             th
     the 30 day after the Effective Date or (b) such other date established by order of the
     Bankruptcy Court by which Proofs of Claim in respect of Administrative Claims must be filed
     (other than Professional Claims).

                  2.1.4     “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy
     Code.

              2.1.5        “Allowed” means, with respect to any Claim or Interest, that the amount,
     priority and/or classification of such Claim or Interest has been (a) allowed by this Plan or the
     Confirmation Order, or by Final Order of the Bankruptcy Court; (b) allowed or stipulated in
     writing (i) prior to the Effective Date, by the Debtors in accordance with authority granted by
     an order of the Bankruptcy Court or (ii) on or after the Effective Date, by the Plan
     Administrator; (c) listed in the Schedules as not disputed, not contingent, not unliquidated
     with respect to amount, secured status or priority and (i) no Proof of Claim in an amount
     greater than the amount set forth in the Schedules has been filed, (ii) no objection to
     allowance, priority or classification, request for estimation, motion to deem the Schedules
     amended or other challenge has been filed prior to the applicable deadlines set forth in the
     Plan, the Bankruptcy Code, the Bankruptcy Rules or as determined by the Bankruptcy Court,
     (iii) such Claim is not otherwise subject to disallowance under section 502(d) or bifurcation
     under section 506(a) of the Bankruptcy Code, and (iv) solely with respect to a Customer
     Entitlement Claim, such Claim is not listed as unverified because of incomplete or inadequate
     know-your-customer information; (d) evidenced by a valid and timely filed Proof of Claim
     and (i) no objection to allowance, priority or classification, request for estimation or other
     challenge has been filed prior to the applicable deadlines set forth in the Plan, the Bankruptcy
     Code, the Bankruptcy Rules or as determined by the Bankruptcy Court and (ii) such Claim is
     not otherwise subject to disallowance under section 502(d) or bifurcation under section 506(a)
     of the Bankruptcy Code; (e) in the case of an Other Administrative Claim, subject to a request
     for payment timely filed and served in accordance with Section 3.1 and no objection to such



                                                    -2-
         Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 21 of 80




Claim has been timely filed and served pursuant to Article 3; or (f) in the case of any
Professional Claim, allowed by an order of the Bankruptcy Court.

        2.1.6       “Available NFT” means an NFT that is in the custody of a Debtor on the
Effective Date.

       2.1.7        “Avoidance Actions” means any and all Causes of Action to subordinate,
avoid or recover a transfer of property or an obligation incurred by any of the Debtors
pursuant to any applicable section of the Bankruptcy Code, including, but not limited to,
sections 105(a), 502(d), 510, 542, 544, 545, 547, 548, 549, 550, 551, 553(b) and 724(a) of the
Bankruptcy Code, or under any similar or related local, state, federal or foreign statutes or
common law.

     2.1.8      “AWS Wallets” means Digital Asset wallets stored by the Debtors at
Amazon Web Services.

       2.1.9        “Bahamian Subsidiaries” means FTX DM and FTX Bahamas PropCo.

        2.1.10      “Ballots” means the ballots accompanying the Disclosure Statement upon
which certain Holders of Impaired Claims entitled to vote shall, among other things, indicate
their acceptance or rejection of the Plan in accordance with the Plan and the Solicitation
Procedures Order, and which must be actually received on or before the Voting Deadline.

        2.1.11      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§
101 et seq.

        2.1.12       “Bankruptcy Court” or “Court” means the United States Bankruptcy Court
for the District of Delaware.

        2.1.13     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, 28 U.S.C. § 2075, as applicable to these Chapter 11 Cases, and the general, local
and chambers rules of the Bankruptcy Court.

       2.1.14       “Business Day” means any day, other than a Saturday, Sunday or “legal
holiday” (as defined in Bankruptcy Rule 9006(a)).

       2.1.15       “Case Expenses” has the meaning set forth in Section 3.7.

       2.1.16       “Cash” means the legal tender of the United States of America or the
equivalents thereof, including bank deposits, checks and other similar items.

       2.1.17       “Cause of Action” means any action, claim, cause of action, controversy,
demand, right, Lien, indemnity, guaranty, suit, obligation, liability, damage, judgment,
account, defense, offset, remedy, power, privilege, license and franchise of any kind or
character whatsoever, known, unknown, contingent or non-contingent, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition

                                             -3-
         Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 22 of 80




Date, in contract or in tort, in law or in equity or pursuant to any other theory of law. Causes
of Action also include: (a) any right of setoff, counterclaim or recoupment and any claim on
contracts or for breaches of duties imposed by law or in equity; (b) the right to object to
Claims or interests; (c) any claim pursuant to section 362 of the Bankruptcy Code; (d) any
Avoidance Action; (e) any claim or defense, including fraud, mistake, duress and usury and
any other defenses set forth in section 558 of the Bankruptcy Code; (f) any state law
fraudulent transfer claim; and (g) any claim against persons or Entities that are not released
under the Plan, including the Preserved Potential Claims, and such Entity’s directors, officers,
employees, agents, Affiliates, parents, subsidiaries, predecessors, successors, heirs, executors
and assigns, attorneys, financial advisors, restructuring advisors, investment bankers,
accountants and other professionals or representatives when acting in any such capacities.

        2.1.18      “Certificate” means any instrument evidencing a Claim or an Equity
Interest.

        2.1.19      “Chapter 11 Cases” means (a) when used with reference to a particular
Debtor, the chapter 11 case pending for such Debtor and (b) when used with reference to all
Debtors, the jointly administered chapter 11 cases pending for the Debtors in the Bankruptcy
Court and, for avoidance of doubt, does not include any individual case that has been closed
pursuant to Section 1.2, Section 13.13 or otherwise and does not include Debtor Emergent
Fidelity Technologies Ltd.

       2.1.20     “Claim” means any claim against a Debtor as defined in section 101(5) of
the Bankruptcy Code.

        2.1.21     “Claims Bar Date” means, as applicable, (a) the Non-Customer Bar Date;
(b) the Customer Bar Date; (c) the Governmental Bar Date; or (d) such other date established
by order of the Bankruptcy Court by which Proofs of Claim must have been filed.

        2.1.22       “Claims Objection Deadline” means: (a) the date that is the later of (i) one
year after the Effective Date or (ii) as to Proofs of Claim filed after the applicable Claims Bar
Date, the 60th day after a Final Order is entered by the Bankruptcy Court deeming the late-
filed Proof of Claim to be treated as timely filed or (b) such later date as may be established
by order of the Bankruptcy Court upon a motion by the Plan Administrator, with notice only
to those parties entitled to receive notice pursuant to Bankruptcy Rule 2002.

       2.1.23     “Claims Register” means the official register of Claims maintained by the
Notice and Claims Agent.

       2.1.24       “Class” means a class of Claims or Interests as set forth in Article 4
pursuant to section 1122(a) of the Bankruptcy Code.

       2.1.25      “Committee” means the official committee of unsecured creditors of the
Debtors appointed in the Chapter 11 Cases on December 15, 2022 pursuant to section 1102 of
the Bankruptcy Code, as may be reconstituted from time to time [D.I. 231].

        2.1.26     “Confirmation” means the entry of the Confirmation Order on the docket
of these Chapter 11 Cases.

                                             -4-
         Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 23 of 80




        2.1.27     “Confirmation Date” means the date upon which the Bankruptcy Court
enters the Confirmation Order on the docket of these Chapter 11 Cases.

        2.1.28     “Confirmation Hearing” means the hearing held by the Bankruptcy Court
to consider Confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code.

       2.1.29      “Confirmation Order” means the order entered by the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

       2.1.30      “Consolidated Debtors” means all Debtors other than the Separate
Subsidiaries.

        2.1.31     “Consummation” means the occurrence of the Effective Date.

        2.1.32     “Customer Bar Date” means 4:00 p.m. (Eastern Time) on September 29,
2023.

        2.1.33       “Customer Entitlement Claim” means any Claim of any kind or nature
whatsoever (whether arising in law or equity, contract or tort, under the Bankruptcy Code,
federal or state law, rule or regulation, common law or otherwise) held by any Person or
Entity against any of the Debtors, in each case arising out of or related to any Cash, Digital
Assets or other assets held by such person or entity in an account on any FTX Exchange as of
the Petition Date.

         2.1.34       “D&O Policy” means any insurance policy and all agreements, documents
or instruments relating thereto, issued to any of the Debtors covering defensive costs and other
liabilities arising out of claims against current or former directors, members, trustees and
officers of the Debtors, other than commercial general liability policies and cyber liability
policies.

       2.1.35       “Debtors” has the meaning set forth in Section 1.1 and, for avoidance of
doubt, does not include any entity whose case has been closed pursuant to Section 1.2, Section
13.13 or otherwise and does not include Debtor Emergent Fidelity Technologies Ltd.

       2.1.36      “Digital Asset” means a DLT Digital Asset or a Pre-Launch
Cryptocurrency.

       2.1.37        “Digital Assets Conversion Table” means the conversion table attached as
Exhibit [•] to the Digital Assets Estimation Order.

        2.1.38     “Digital Assets Estimation Order” means the [•] [D.I. [•]].

        2.1.39     “Disclosure Statement” means the disclosure statement for the Plan, as
approved by the Bankruptcy Court pursuant to the Solicitation Procedures Order, including all
exhibits and schedules thereto and references therein that relate to the Plan.

        2.1.40     “Disputed Claim” means any Claim that has not been Allowed.



                                             -5-
         Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 24 of 80




        2.1.41      “Distribution” means a distribution of property pursuant to the Plan, to
take place as provided for herein, and “Distribute” shall have a correlative meaning.

       2.1.42      “Distribution Agent” means an Entity chosen by the Plan Administrator,
which may include the Notice and Claims Agent, to make any Distributions at the direction of
the Plan Administrator.

      2.1.43      “Distribution Date” means the Initial Distribution Date and each
Subsequent Distribution Date.

       2.1.44      “Distribution Record Date” means a date determined by the Plan
Administrator, from time to time, in his or her reasonable discretion and in accordance with
the Plan Administration Agreement, to make any Distributions under the Plan.

         2.1.45       “DLT Digital Asset” means any digital representation of value or units
that is issued or transferable using distributed ledger or blockchain technology, including
Stablecoins, cryptocurrency and NFTs.

        2.1.46      “Dotcom Convenience Claim” means (a) any Dotcom Customer
Entitlement Claim Allowed in an amount equal to or less than $[•] or (b) any Dotcom
Customer Entitlement Claim Allowed in an amount greater than $[•] but that is reduced to an
amount equal to or less than $[•] by an irrevocable written election of the Holder of such
Dotcom Customer Entitlement Claim made on a properly executed and delivered Ballot;
provided that where any portion of a Dotcom Customer Entitlement Claim has been
transferred or subdivided, any transferred or subdivided portion shall continue to be treated
together with the entire initial Dotcom Customer Entitlement Claim for purposes of
determining whether any portion of such Dotcom Customer Entitlement Claim qualifies as a
Dotcom Convenience Claim.

       2.1.47      “Dotcom Customer Entitlement Claim” means any Customer Entitlement
Claim against the FTX.com Exchange that is not a FTT Customer Entitlement Claim or a
NFT Customer Entitlement Claim.

        2.1.48       “Dotcom Customer Pool” means (a) collectively, (i) all fiat currency in
segregated accounts designated by the Debtors as accounts for the benefit of customers
associated with the FTX.com Exchange held by the Debtors on the Petition Date; (ii) all
Digital Assets (other than Available NFTs) held by the Debtors and identified by the Debtors
as held for customers in FTX.com AWS Wallets on the Petition Date; (iii) all proceeds
relating to the Hacking Incident recovered by the Debtors to the extent that such proceeds are
in respect of Digital Assets held in FTX.com AWS Wallets before, on or after the Petition
Date; (iv) all proceeds from any Claim or Cause of Action against any customer of the
FTX.com Exchange and Dotcom Customer Preference Actions; (v) all proceeds from
recoveries from the Bahamian Subsidiaries, of any sort, whether from the Debtors’ equity
interest in, or from claims against, such Bahamian Subsidiaries; (vi) all proceeds from the
sale, disposition or other monetization of property of the Debtors associated with the




                                             -6-
              Case 22-11068-JTD             Doc 2100         Filed 07/31/23       Page 25 of 80




    FTX.com Exchange;3 and (vii) the Dotcom Intercompany Shortfall Claim, less (b) (i) amount
    necessary to satisfy the Dotcom Convenience Claim and (ii) the Case Expenses allocated to
    the Dotcom Customer Pool pursuant to Section 3.7.

            2.1.49       “Dotcom Customer Preference Actions” means any and all Causes of
    Action to avoid any preferential payments or transfers of property from the FTX.com
    Exchange pursuant to section 547 of the Bankruptcy Code and any recovery action related
    thereto under section 550 of the Bankruptcy Code, or under any similar or related local, state,
    federal or foreign statutes or common law.

            2.1.50        “Dotcom Exchange Shortfall Amount” means $[•].4

           2.1.51      “Dotcom Intercompany Shortfall Claim” means a Claim against the
    General Pool subject to the waterfall priorities set forth in Section 4.2 in an amount equal to
    the Dotcom Exchange Shortfall Amount.

            2.1.52      “Effective Date” means, following the Confirmation Date, 12:01 a.m.
    prevailing Eastern Time on a Business Day selected by the Debtors, on which all conditions to
    the occurrence of the Effective Date set forth in Sections 9.1 and 9.2 are satisfied or waived in
    accordance with this Plan.

            2.1.53       “Election Form” means the election form regarding the Voluntary Release
    by Holders of Claims and Interests provided to Holders of Claims or Interests who are not
    entitled to vote on the Plan and which must be actually received on or before the Voting
    Deadline.

            2.1.54        “Entity” has the meaning set forth in section 101(15) of the Bankruptcy
    Code.

           2.1.55      “Equity Interest” means any Equity Security, including any issued,
    unissued, authorized or outstanding share of common stock, preferred stock or other
    instrument evidencing an ownership interest in a Debtor, whether or not transferable, and any
3
    Note to Draft: The Debtors intend to seek to market the Debtors’ property associated with the ownership and
    operation of the FTX.com Exchange. Depending on the sales and marketing process, the Debtors may establish
    in collaboration with third party investors a new company in a jurisdiction outside of the United States to
    operate a “rebooted” offshore platform not available to U.S. investors (an “Offshore Exchange Company”) or
    enter into a merger or similar transaction. If the Debtors elect to establish an Offshore Exchange Company, the
    Debtors and the new investors will determine the legal structure and corporate governance arrangements for the
    Offshore Exchange Company in consultation with customer and creditor representatives prior to confirmation
    of the Plan.
    The Debtors reserve the right not to proceed with an Offshore Exchange Company if the Debtors determine that
    doing so may, among other things, delay effectiveness of the remaining components of the Plan, create
    regulatory concerns or fail to yield material incremental value to Holders of Dotcom Customer Entitlement
    Claims.
4
    Note to Draft: This value will represent the historical shortfall in the accounts associated with the FTX.com
    Exchange at the time of commencement of the Chapter 11 Cases, and will be set as the Debtors’ estimate of the
    difference as of the Petition Date between (a) the aggregate amount of Dotcom Customer Entitlement Claims
    and (b) the aggregate fair market value of (i) fiat currency in segregated accounts, (ii) Digital Assets in AWS
    Wallets (other than NFTs and FTT) and (iii) Digital Assets subject to the Hacking Incident.


                                                       -7-
         Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 26 of 80




option, warrant or right, contractual or otherwise, to acquire any such interest in a Debtor that
existed immediately prior to the Effective Date; provided that Equity Interest does not include
any Intercompany Interest.

        2.1.56     “Equity Security” means an equity security as defined in section 101(16)
of the Bankruptcy Code.

        2.1.57       “Estate” means, as to each Debtor, the estate created on the Petition Date
for the Debtor in its Chapter 11 Case pursuant to sections 301 and 541 of the Bankruptcy
Code and/or as established by order of the Bankruptcy Court.

       2.1.58     “Exchange Rate” means the closing exchange rate on the Petition Date, as
published by The Wall Street Journal.

       2.1.59        “Excluded Parties” means (a) Samuel Bankman-Fried, (b) Zixiao “Gary”
Wang, (c) Nishad Singh, (d) Caroline Ellison, (e) any former director, officer or employee of
any Debtor not incumbent as of the Confirmation Date, or (f) any other Entity associated with
the Debtors that is identified by the Debtors in the Plan or the Plan Supplement as an
Excluded Party.

        2.1.60       “Exculpated Parties” means (a) the Debtors; (b) the Committee and its
current members, in their capacities as such; (c) the Fee Examiner; and (d) with respect to
each Entity named in (a) through (c), such Entity’s current directors, officers, employees,
attorneys, financial advisors, restructuring advisors, investment bankers, accountants and
other professionals or representatives solely when acting in any such capacities, in each case,
current as of the Confirmation Date. Notwithstanding anything to the contrary in the Plan or
the Plan Supplement, no Excluded Party shall be an Exculpated Party.

       2.1.61       “Executory Contract” means a contract to which one or more of the
Debtors is a party and that such Debtor may assume or reject under section 365 or 1123 of the
Bankruptcy Code.

       2.1.62      “Federal Judgment Rate” means the federal judgment rate in effect
pursuant to 28 U.S.C. § 1961 as of the Petition Date, compounded annually.

       2.1.63       “Fee Examiner” means Katherine Stadler, as Fee Examiner appointed
under the Order (I) Appointing Fee Examiner and (II) Establishing Procedures for
Consideration of Requested Fee Compensation and Reimbursement of Expenses [D.I. 834].

        2.1.64       “Final Order” means, as applicable, an order or judgment of the
Bankruptcy Court or other court of competent jurisdiction with respect to the relevant subject
matter, which has not been reversed, stayed, modified, vacated or amended, and as to which
the time to appeal, seek certiorari or move for a new trial, stay, re-argument or rehearing has
expired and no appeal, petition for certiorari or motion for a new trial, stay, re-argument or
rehearing has been timely filed, or as to which any appeal that has been taken, any petition for
certiorari, or motion for a new trial, stay, re-argument or rehearing that has been or may be
filed shall have been denied or resulted in no modification of such order, and the time to take
any further appeal, petition for certiorari or move for a new trial, stay, re-argument or

                                             -8-
         Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 27 of 80




rehearing shall have expired, as a result of which such order shall have become final in
accordance with Bankruptcy Rule 8002; provided that the possibility that a motion under rule
60 of the Federal Rules of Civil Procedure, as made applicable by Bankruptcy Rule 9024, may
be filed relating to an order shall not by itself cause such order to not be a Final Order.

       2.1.65       “FTT” means the token native to the FTX.com Exchange.

        2.1.66      “FTT Claim” means any FTT Customer Entitlement Claim or any Claim
of any kind or nature (whether arising in law or equity, contract or tort, under the Bankruptcy
Code, federal or state law, rule or regulation, common law or otherwise) held by any Person
or Entity in the capacity as a holder of FTT that is not a Section 510(b) FTT Claim.

        2.1.67      “FTT Customer Entitlement Claim” means a Customer Entitlement Claim
in respect of an FTT.

       2.1.68       “FTX Bahamas PropCo” means FTX Property Holdings Ltd.

       2.1.69       “FTX DM” means FTX Digital Markets Ltd.

       2.1.70       “FTX Exchanges” means any exchange or trading platform operated by a
Debtor as of the Petition Date.

       2.1.71       “FTX Trading” has the meaning set forth in the Article 1.

       2.1.72       “FTX Turkey” has the meaning set forth in the Section 1.2(a).

      2.1.73    “FTX.com AWS Wallets” means the AWS Wallets associated with
FTX.com Exchange.

       2.1.74       “FTX.com Exchange” means the FTX.com trading platform.

     2.1.75      “FTX.US AWS Wallets” means the AWS Wallets associated with the
FTX.US Exchange.

       2.1.76       “FTX.US Exchange” means the FTX.US trading platform.

        2.1.77      “General Administrative Claim” means an Administrative Claim other
than a Professional Claim.

        2.1.78      “General Convenience Claim” means (a) any General Unsecured Claim
Allowed in an amount equal to or less than $[•] or (b) any General Unsecured Claim Allowed
in an amount greater than $[•] but that is reduced to an amount equal to or less than $[•] by an
irrevocable written election of the Holder of such General Unsecured Claim made on a
properly executed and delivered Ballot; provided that where any portion of a General
Unsecured Claim has been transferred or subdivided, any transferred or subdivided portion
shall continue to be treated together with the entire initial General Unsecured Claim for
purposes of determining whether any portion of such General Unsecured Claim qualifies as a
General Convenience Claim.


                                             -9-
             Case 22-11068-JTD            Doc 2100         Filed 07/31/23      Page 28 of 80




            2.1.79       “General Pool” means (a) collectively, (i) all fiat and Digital Assets held
    by the Debtors not allocated to the Dotcom Customer Pool, the U.S. Customer Pool or a
    Separate Subsidiary; (ii) all excess distributable value of any non-Debtor Subsidiary (other
    than FTX DM) after satisfaction of all claims against such non-Debtor Subsidiary; (iii) all
    excess distributable value of the Separate Subsidiaries after satisfaction of all Allowed
    Separate Subsidiary Claims; (iv) all proceeds from all Avoidance Actions and litigation
    Claims of any Debtor other than the Dotcom Customer Preference Actions and the U.S.
    Customer Preference Actions; (v) all proceeds from the sale, disposition or other monetization
    of other property of the Debtors (including the venture investments held by the Debtors) other
    than FTX DM, the FTX.com Exchange and the FTX.US Exchange; (vi) a ratable [•] percent
    interest in the U.S. Customer Pool;5 (vii) 100 percent of the residual interest in the Dotcom
    Customer Pool after all Dotcom Customer Entitlement Claims are satisfied in full; (viii) 100
    percent of the residual interest in the U.S. Customer Pool after all U.S. Customer Entitlement
    Claims are satisfied in full; (ix) all other property of the Debtors or the Wind Down Estates,
    less (b) the Case Expenses allocated to the U.S. Customer Pool pursuant to Section 3.7;
    provided that the General Pool does not include any asset in the Dotcom Customer Pool or the
    U.S. Customer Pool.

           2.1.80      “General Unsecured Claim” means any Claim that is not an
    (a) Administrative Claim, (b) 503(b)(9) Claim, (c) Priority Tax Claim, (d) Other Priority
    Claim, (e) Secured Claim, (f) Separate Subsidiary Claim, (g) Dotcom Customer Entitlement
    Claim, (h) U.S. Customer Entitlement Claim, (i) NFT Customer Entitlement Claim, (j)
    Dotcom Convenience Claim, (k) U.S. Convenience Claim, (l) General Convenience Claim,
    (m) Intercompany Claim, (n) Subordinated Claim, (o) FTT Claim, (p) Section 510(b) Claim,
    (q) Dotcom Intercompany Shortfall Claim or (r) U.S. Intercompany Shortfall Claim.

           2.1.81        “Global Settlement” has the meaning set forth in Section 5.2.

          2.1.82      “Governmental Bar Date” means 4:00 p.m. (Eastern Time) on
    September 29, 2023.

            2.1.83      “Governmental Unit” means governmental unit as defined in
    section 101(27) of the Bankruptcy Code.

           2.1.84      “Hacking Incident” means the November 2022 electronic attack against
    the Debtors and the FTX Exchanges.

           2.1.85        “Holder” means an Entity holding a Claim against or an Interest in any of
    the Debtors.

          2.1.86     “Impaired” means “impaired” within the meaning of section 1124 of the
    Bankruptcy Code.




5
    Note to Draft: Percentage to be determined based on size of Alameda’s positions on the FTX.US Exchange.


                                                    -10-
         Case 22-11068-JTD        Doc 2100        Filed 07/31/23   Page 29 of 80




      2.1.87        “Initial Distribution Date” means the date determined by the Plan
Administrator, in his or her reasonable discretion and in accordance with the Plan
Administration Agreement, to commence Distributions under the Plan.

       2.1.88      “Insider” has the meaning set forth in section 101(31) of the Bankruptcy
Code, includes any non-statutory insiders of the Debtors and Affiliates of the Debtors,
including, among others, Samuel Bankman-Fried, Zixiao “Gary” Wang, Nishad Singh and
Caroline Ellison.

       2.1.89      “Intercompany Claim” means any Claim of whatever nature and arising at
whatever time held by a Debtor against another Debtor, other than the Dotcom Intercompany
Shortfall Claim and the U.S. Intercompany Shortfall Claim.

        2.1.90      “Intercompany Interest” means any Equity Security, including any issued
or unissued share of common stock, preferred stock or other instrument, evidencing an
ownership interest in a Debtor or a subsidiary held by another Debtor.

        2.1.91     “Interest” means any Equity Interest or Intercompany Interest.

        2.1.92     “IRS” means the Internal Revenue Service.

        2.1.93     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        2.1.94       “NFT Customer Entitlement Claim” means a Customer Entitlement Claim
for the return of an Available NFT.

        2.1.95     “NFTs” means non-fungible tokens.

        2.1.96     “Non-Customer Bar Date” means 4:00 p.m. (Eastern Time) on June 30,
2023.

       2.1.97      “Notice and Claims Agent” means Kroll Restructuring Administration
LLC, located at 55 East 52nd Street, 17th Floor, New York, NY 10055, retained and approved
by the Bankruptcy Court as the Debtors’ notice and claims agent.

       2.1.98      “Other Administrative Claim” means any Administrative Claim that is not
a Professional Claim or Claim for U.S. Trustee Fees.

       2.1.99      “Other Equity Interest” means any Equity Interest that is not a Preferred
Equity Interest.

        2.1.100     “Other Priority Claim” means any Claim accorded priority in right of
payment under section 507(a) of the Bankruptcy Code, other than an Administrative Claim or
a Priority Tax Claim.

        2.1.101    “Person” has the meaning set forth in section 101(41) of the Bankruptcy
Code.



                                           -11-
         Case 22-11068-JTD          Doc 2100        Filed 07/31/23   Page 30 of 80




       2.1.102     “Petition Date” means (a) November 11, 2023, with respect to each
Debtor other than West Realm Shires Inc. and (b) November 14, 2023, with respect to West
Realm Shires Inc.

       2.1.103      “Plan” has the meaning set forth in Section 1.1.

        2.1.104      “Plan Administration Agreement” means the agreement between the
Debtors and the Plan Administrator governing the Plan Administrator’s rights and obligations
in connection with the Plan and Wind Down Estates, dated as of the Effective Date, which
shall be filed as part of the Plan Supplement.

       2.1.105     “Plan Administrator” means the Debtors’ Chief Restructuring Officer, and
any successor to such Person, who shall administer the Debtors’ Estates after the Effective
Date in accordance with the Plan Administration Agreement.

       2.1.106    “Plan Assets” means all property of each Estate and any property retained
by any Debtor under the Plan.

        2.1.107     “Plan Supplement” means the initial compilation of documents and forms
of documents, schedules and exhibits to the Plan, to be filed and available on the Notice and
Claims Agent’s website at https://restructuring.ra.kroll.com/FTX/ no later than seven days
prior to the Voting Deadline or such later date as may be approved by the Bankruptcy Court,
and additional documents filed with the Bankruptcy Court prior to the Effective Date as
amendments to the Plan Supplement.

       2.1.108      “Pre-Distribution Requirements” has the meaning set forth in
Section 7.13.

        2.1.109     “Pre-Launch Cryptocurrency” means an asset that would have been a DLT
Digital Asset but for the fact that such asset has not been issued and is not transferable using
distributed ledger or blockchain technology as of the Petition Date, including PYTH and
HOLE.

        2.1.110      “Preferred Equity Interest” means with respect to a Debtor, Equity
Interests in such Debtor that is entitled to preference or priority over any other Equity Interest
in such Debtor with respect to the payment of dividends or distribution of assets upon
liquidation or both, including (a) series A preferred stock issued by West Realm Shires Inc.,
(b) series B preferred stock issued by FTX Trading, (c) series B-1 preferred stock issued by
FTX Trading, and (d) series C preferred stock issued by FTX Trading.

       2.1.111     “Prepetition” means, with respect to each Debtor, prior to the Petition
Date for such Debtor.

       2.1.112      “Preserved Potential Claim” means the Causes of Action set out in the
Exhibit [•] hereto.

       2.1.113      “Priority Tax Claim” means a Claim of a Governmental Unit against a
Debtor of the kind specified in section 507(a)(8) of the Bankruptcy Code.

                                             -12-
         Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 31 of 80




        2.1.114      “Pro Rata” means, with respect to an Allowed Claim, the percentage
represented by a fraction (a) the numerator of which shall be an amount equal to such Claim
and (b) the denominator of which shall be an amount equal to the aggregate amount of
Allowed and estimated Claims in the same Class as such Claim, except in cases where Pro
Rata is used in reference to multiple Classes, in which case Pro Rata means the proportion that
such Holder’s Claim in a particular Class bears to the aggregate amount of all Allowed Claims
and estimated in such multiple Classes.

        2.1.115    “Professional” means an Entity: (a) employed in the Chapter 11 Cases
pursuant to a Bankruptcy Court order in accordance with sections 327, 328, 363 and/or 1103
of the Bankruptcy Code and to be compensated for services rendered prior to or on the
Confirmation Date pursuant to section 327, 328, 329, 330, 331 or 363 of the Bankruptcy Code
or (b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to section
503(b)(4) of the Bankruptcy Code.

       2.1.116     “Professional Claim” means an Administrative Claim for the
compensation of a Professional and the reimbursement of expenses incurred by such
Professional from the Petition Date through and including the Confirmation Date.

       2.1.117    “Professional Fee Escrow Account” means an account to be funded by the
Debtors upon the Effective Date in an amount equal to the Professional Fee Reserve Amount.

       2.1.118    “Professional Fee Order” means the Order Establishing Procedures for
Interim Compensation and Reimbursement of Expenses of Professionals entered by the
Bankruptcy Court on January 9, 2023 [D.I. 435].

       2.1.119     “Professional Fee Reserve Amount” means the aggregate amount of
unpaid Professional Claims for all Professionals employed by the Debtors and the Committee
through and including the Confirmation Date as estimated by the Debtors in accordance with
Section 3.4.3.

        2.1.120    “Proof of Claim” means a proof of Claim filed against any of the Debtors
in these Chapter 11 Cases.

        2.1.121      “Rejected Contract Claims Bar Date” means, with respect to any
Executory Contract or Unexpired Lease that is rejected pursuant to this Plan, 4:00 p.m.
(Eastern Time) on the earlier of (a) the 30th day after entry by the Bankruptcy Court of an
order providing for the rejection of such Executory Contract or Unexpired Lease and (b) the
30th day after the Effective Date; provided that the deadline for filing any rejection damages
claim in connection with any Executory Contract or Unexpired Lease rejected pursuant to a
prior order of the Bankruptcy Court shall be the date set forth in the respective order
authorizing such rejection.

       2.1.122      “Released Parties” means the Exculpated Parties. Notwithstanding
anything to the contrary in the Plan or Plan Supplement, no Excluded Party shall be a
Released Party.



                                            -13-
              Case 22-11068-JTD              Doc 2100          Filed 07/31/23        Page 32 of 80




            2.1.123      “Releasing Parties” means (a) the Debtors; (b) the Committee and its
    current members, in their capacities as such; (c) the Holders of all Claims who vote to accept
    the Plan; (d) the Holders of all Claims that are Unimpaired under the Plan; (e) the Holders of
    all Claims whose vote to accept or reject the Plan is solicited but who (i) abstain from voting
    on the Plan and (ii) do not opt out of granting the releases set forth therein; (f) the Holders of
    all Claims or Interests who vote, or are deemed, to reject the Plan but do not opt out of
    granting the releases set forth therein; (g) all other Holders of Claims or Interests to the
    maximum extent permitted by law. Holders who were not provided a Ballot or an Election
    Form and are not listed in clauses (a) through (g) above are not Releasing Parties.

            2.1.124    “Schedules” means the schedules of assets and liabilities, schedules of
    Executory Contracts and Unexpired Leases, and statements of financial affairs filed by the
    Debtors in these Chapter 11 Cases, each as may be amended, supplemented or modified from
    time to time.

            2.1.125     “Section 510(b) Claim” means a Claim subject to subordination under
    section 510(b) of the Bankruptcy Code, including Section 510(b) FTT Claims.

            2.1.126     “Section 510(b) FTT Claim” means any Claim (a) arising from the
    rescission of a purchase or sale of FTT, (b) for damages arising from the purchase or sale of
    FTT, or (c) for reimbursement or contribution allowed under section 502 of the Bankruptcy
    Code on account of such a Claim.

            2.1.127      “Secured Claim” means a Claim (a) secured by a Lien on property in
    which an Estate has an interest, to the extent such Lien is valid, perfected and enforceable
    pursuant to applicable law or by reason of a Bankruptcy Court order, or that is subject to
    setoff pursuant to section 553 of the Bankruptcy Code and to the extent of the value of its
    Holder’s interest in the Estate’s interest in such property or to the extent of the amount subject
    to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or
    (b) Allowed as such pursuant to the Plan.

          2.1.128          “Securities Act” means the United States Securities Act of 1933, as
    amended.

            2.1.129        “Security” means a security as defined in section 2(a)(1) of the Securities
    Act.

            2.1.130     “Separate Subsidiaries” means the Debtors listed in the Exhibit [•]
    hereto, as may be updated, supplemented and amended from time to time in accordance with
    the terms of the Plan Supplement.6

           2.1.131     “Separate Subsidiary Claim” means any Claim against a Debtor that is a
    Separate Subsidiary.



6
    Note to Draft: The Debtors may identify in this exhibit certain subsidiaries that are solvent and historically
    separate.


                                                        -14-
         Case 22-11068-JTD          Doc 2100        Filed 07/31/23   Page 33 of 80




       2.1.132      “SNG Investments” has the meaning set forth in Section 1.2(b).

        2.1.133     “Specially Designated Nationals and Blocked Persons” means individuals
and companies owned or controlled by, or acting for or on behalf of, sanctioned countries as
well as individuals, groups and entities, such as terrorists and narcotics traffickers designated
under various sanctions programs as determined by the United States Treasury’s Office of
Foreign Assets Control.

         2.1.134     “Solicitation Procedures Order” means the order (a) approving the
Disclosure Statement; (b) establishing a voting record date for the Plan; (c) approving
solicitation packages and procedures for the distribution thereof; (d) approving the forms of
Ballots; (e) establishing procedures for voting on the Plan and (f) establishing notice and
objection procedures for the confirmation of the Plan, entered by the Bankruptcy Court on [•]
[D.I. [•]], together with any supplemental order(s) that may be entered by the Bankruptcy
Court in connection therewith.

        2.1.135      “Stablecoin” means any Digital Asset designed to maintain a stable value
relative to a reserve asset, such as a fiat currency or exchange-traded commodity.

        2.1.136     “Subordinated Claim” means a Claim for regulatory fines and penalties,
U.S. federal and state income or employment taxes, similar foreign taxes and any other Claim
that has been subordinated on the basis of structural subordination, equitable subordination,
laws or policies subordinating recoveries to claims by victims of crime or fraud, or any other
grounds available under applicable law.

       2.1.137      “Subsequent Distribution Date” means a date after the Initial Distribution
Date selected by the Plan Administrator for Distributions in accordance with Section 7.1.2.

      2.1.138      “Terms of Service” means any contract between an FTX Exchange and its
customers that governs the terms of use of such FTX Exchange by those customers.

        2.1.139      “U.S. Convenience Claim” means (a) any U.S. Customer Entitlement
Claim Allowed in an amount equal to or less than $[•], or (b) any U.S. Customer Entitlement
Claim Allowed in an amount greater than $[•] but that is reduced to an amount equal to or less
than $[•] by an irrevocable written election of the Holder of such U.S. Customer Entitlement
Claim made on a properly executed and delivered Ballot; provided that where any portion of a
U.S. Customer Entitlement Claim has been transferred or subdivided, any transferred or
subdivided portion shall continue to be treated together with the entire initial U.S. Customer
Entitlement Claim for purposes of determining whether any portion of such U.S. Customer
Entitlement Claim qualifies as a U.S. Convenience Claim.

       2.1.140     “U.S. Customer Entitlement Claim” means any Customer Entitlement
Claim against the FTX.US Exchange that is not a FTT Customer Entitlement Claim or a NFT
Customer Entitlement Claim.

       2.1.141      “U.S. Customer Pool” means (a) collectively, (i) all fiat currency in
segregated accounts designated by the Debtors as accounts for the benefit of customers
associated with the FTX.US Exchange held by the Debtors on the Petition Date; (ii) all Digital

                                             -15-
              Case 22-11068-JTD            Doc 2100          Filed 07/31/23      Page 34 of 80




    Assets (other than Available NFTs) held by the Debtors and identified by the Debtors as held
    for customers in FTX.US AWS Wallets on the Petition Date; (iii) all proceeds relating to the
    Hacking Incident recovered by the Debtors to the extent that such proceeds are in respect of
    Digital Assets held in FTX.US AWS Wallets before, on or after the Petition Date; (iv) all
    proceeds from any Claim or Cause of Action against any customer of the FTX.US Exchange
    and U.S. Customer Preference Actions; (v) all proceeds from the sale, disposition or other
    monetization of property of the Debtors associated with the FTX.US Exchange; (vi) the U.S.
    Intercompany Shortfall Claim, less (b) (i) the amount necessary to satisfy the U.S.
    Convenience Claim and (ii) the Case Expenses allocated to the U.S. Customer Pool pursuant
    to Section 3.7.

            2.1.142      “U.S. Customer Preference Actions” means any and all Causes of Action
    to avoid any preferential payments or transfers of property from the FTX.US Exchange
    pursuant to section 547 of the Bankruptcy Code, and any recovery action related thereto under
    section 550 of the Bankruptcy Code, or under any similar or related local, state, federal or
    foreign statutes or common law.

           2.1.143       “U.S. Exchange Shortfall Amount” means $[•].7

           2.1.144      “U.S. Intercompany Shortfall Claim” means a Claim against the General
    Pool subject to the waterfall priorities set forth in Section 4.2 in an amount equal to the U.S.
    Exchange Shortfall Amount.

            2.1.145    “U.S. Trustee” means the Office of the United States Trustee for the
    District of Delaware.

            2.1.146      “U.S. Trustee Fees” means fees arising under 28 U.S.C. § 1930(a)(6) and,
    to the extent applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

             2.1.147     “Unclaimed Distribution” means any Distribution under the Plan on
    account of an Allowed Claim to a Holder that has not: (a) accepted a particular Distribution
    or, in the case of a Distribution made by check, negotiated such check; (b) given written
    notice to the Distribution Agent of an intent to accept a particular Distribution; (c) responded
    in writing to the request of the Distribution Agent for information necessary to facilitate a
    particular Distribution or (d) taken any other action necessary to facilitate such Distribution.

            2.1.148      “Unexpired Lease” means a lease to which one or more of the Debtors is a
    party that is subject to assumption or rejection under section 365 or 1123 of the Bankruptcy
    Code.

           2.1.149       “Unimpaired” means any Claim or Interest that is not Impaired.


7
    Note to Draft: This value will represent the historical shortfall in the accounts associated with the FTX.US
    Exchange at the time of commencement of the Chapter 11 Cases, and will be set as the Debtors’ estimate of the
    difference as of the Petition Date between (a) the aggregate amount of U.S. Customer Entitlement Claims and
    (b) the aggregate fair market value of (i) fiat currency in segregated accounts, (ii) Digital Assets in AWS
    Wallets (other than NFTs and FTT) and (iii) Digital Assets subject to the Hacking Incident.


                                                      -16-
              Case 22-11068-JTD        Doc 2100        Filed 07/31/23   Page 35 of 80




        2.1.150      “Voluntary Release by Holders of Claims and Interests” means the release
  by Holders of Claims and Interests as set forth in Section 10.5.

         2.1.151       “Voting” means the process by which a Holder of a Claim may vote to
  accept or reject the Plan, pursuant to the conditions in Article 4.

          2.1.152    “Voting Deadline” means [•] (Eastern Time) on [•], by which time all
  Ballots must be actually received by the Notice and Claims Agent.

         2.1.153      “Wind Down Budget” means the budget to fund the Wind Down Estate,
  which shall be included in the Plan Supplement, as may be updated, supplemented and
  amended from time to time in accordance with the terms of the Plan Supplement.

          2.1.154     “Wind Down Cash Proceeds” means all Cash proceeds from the sale,
  disposition or other monetization of Plan Assets available for Distribution by the Plan
  Administrator, other than Cash reserved or applied by the Plan Administrator (a) to make
  Distributions under the Plan to Holders of Allowed Administrative Claims, Allowed Other
  Priority Claims or Allowed Secured Claims or (b) to pay expenses and costs of administering
  the Wind Down Estates.

         2.1.155       “Wind Down Estate” means the Estate of each Debtor after the Effective
  Date of the Plan.

       2.2.     Rules of Interpretation

                 For the purposes of this Plan: (a) any reference herein to the word “including” or
word of similar import shall be read to mean “including without limitation”; (b) unless otherwise
specified, all references herein to “Articles” are references to Articles herein, hereof or hereto;
(c) unless otherwise specified, the words “herein,” “hereof” and “hereto” refer to the Plan in its
entirety rather than a particular portion of the Plan; (d) captions and headings to Articles are
inserted for the convenience of reference only and are not intended to be a part of or to affect the
interpretation of the Plan; (e) unless otherwise specified herein, the rules of construction set forth
in section 102 of the Bankruptcy Code shall apply; (f) unless otherwise specified, all references
herein to exhibits are references to exhibits in the Plan Supplement; (g) all references to docket
numbers of documents filed in these Chapter 11 Cases are references to the docket numbers
under the Bankruptcy Court’s CM/ECF system; (h) all references to statutes, regulations, orders,
rules of courts and the like shall mean as amended from time to time, and as applicable to these
Chapter 11 Cases, unless otherwise stated; (i) any reference herein to a contract, agreement,
lease, plan, policy, document or instrument being in a particular form or on particular terms and
conditions means that the same shall be substantially in that form or substantially on those terms
and conditions; (j) any reference herein to a contract, agreement, lease, plan, policy, document or
instrument or schedule or exhibit thereto, whether or not filed, shall mean the same as amended,
restated, modified or supplemented from time to time in accordance with the terms hereof or
thereof; (k) any immaterial effectuating provisions may be interpreted by the Debtors and the
Plan Administrator in such a manner that is consistent with the overall purpose and intent of the
Plan, all without further Bankruptcy Court order; (l) any reference to an Entity as a Holder of a
Claim or Interest includes that Entity’s successors and permitted assigns; (m) except as otherwise


                                                -17-
              Case 22-11068-JTD       Doc 2100        Filed 07/31/23   Page 36 of 80




expressly provided in this Plan, where this Plan contemplates that any Debtor or the Plan
Administrator shall take any action, incur any obligation, issue any security or adopt, assume,
execute or deliver any contract, agreement, lease, plan, policy, document or instrument on or
prior to the Effective Date, the same shall be duly and validly authorized by the Plan and
effective against and binding upon such Debtor and/or the Plan Administrator, as applicable, on
and after the Effective Date without further notice to, order of or other approval by the
Bankruptcy Court, action under applicable law, regulation, order or rule, or the vote, consent,
authorization or approval of the board of directors of any Debtor or any other Entity and (n)
except as otherwise provided in the Plan, anything required to be done by the Debtors or the Plan
Administrator, as applicable, on the Effective Date may be done on the Effective Date or as soon
as reasonably practicable thereafter.

       2.3.     Governing Law

               Unless a rule of law or procedure is supplied by federal law (including the
Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the
State of Delaware, without giving effect to the principles of conflicts of laws, shall govern the
construction and implementation of the Plan and any agreement, document or instrument
executed or entered into in connection with the Plan.

       2.4.     Computation of Time

               Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule
9006(a) shall apply in computing any period of time prescribed or allowed herein, and all dates
and times shall be determined based on prevailing time in Wilmington, Delaware.




                                               -18-
              Case 22-11068-JTD       Doc 2100         Filed 07/31/23   Page 37 of 80




3.     ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS

               In accordance with section 1123(a)(1) of the Bankruptcy Code, the Plan does not
classify Administrative Claims, Professional Claims and Priority Tax Claims, payment of which
is provided for below.

       3.1.     Administrative Claim Bar Date

               Any request for payment of an Administrative Claim must be filed and served on
the Plan Administrator pursuant to the procedures specified in the notice of entry of the
Confirmation Order and the Confirmation Order on or prior to the Administrative Claim Bar
Date; provided that no request for payment is required to be filed and served pursuant to this
Section 3.1 with respect to any:

                      (a)     Administrative Claim that is Allowed as of the Administrative
                              Claim Bar Date;

                      (b)     503(b)(9) Claim;

                      (c)     Professional Claim; or

                      (d)     Claim for U.S. Trustee Fees.

               Any Holder of an Administrative Claim who is required to, but does not, file and
serve a request for payment of such Administrative Claim pursuant to the procedures specified in
the Confirmation Order on or prior to the Administrative Claim Bar Date shall be forever barred,
estopped and enjoined from asserting such Administrative Claim against any Wind Down Estate
and such Administrative Claim shall be deemed satisfied as of the Effective Date without the
need for any objection from the Plan Administrator or any notice to or action, order or approval
of the Bankruptcy Court.

                Any objection to a request for payment of an Administrative Claim that is
required to be filed and served pursuant to this Section 3.1 must be filed and served on the Plan
Administrator and the requesting party creditor (a) no later than 90 days after the Administrative
Claim Bar Date or (b) by such later date as may be established by order of the Bankruptcy Court
upon a motion by the Plan Administrator, with notice only to those parties entitled to receive
notice pursuant to Bankruptcy Rule 2002.

       3.2.     General Administrative Claims

                Except to the extent that a Holder of an Allowed General Administrative Claim
agrees to less favorable treatment, the Holder of each Allowed General Administrative Claim
shall receive Cash in an amount equal to the full unpaid amount of such Allowed General
Administrative Claim on or as reasonably practicable after the later of (a) the Effective Date or
(b) the date on which such Claim is Allowed.




                                                -19-
              Case 22-11068-JTD        Doc 2100         Filed 07/31/23   Page 38 of 80




       3.3.     503(b)(9) Claims

                Except to the extent that a Holder of an Allowed 503(b)(9) Claim agrees to less
favorable treatment, the Holder of each Allowed 503(b)(9) Claim shall receive Cash in an
amount equal to the full unpaid amount of such Allowed 503(b)(9) Claim on or as reasonably
practicable after the later of (a) the Effective Date or (b) the date on which such Claim is
Allowed.

       3.4.     Professional Claims

                      3.4.1    Final Fee Applications. All final requests for payment of
              Professional Claims shall be filed and served no later than 60 days after the Effective
              Date, in accordance with the procedures established under the Professional Fee
              Order and the Confirmation Order. The Bankruptcy Court shall determine the
              Allowed amounts of such Professional Claims after notice and a hearing in
              accordance with the procedures established by the Bankruptcy Code, Bankruptcy
              Rules and prior Bankruptcy Court orders.

                      3.4.2      Professional Fee Escrow Account. The Debtors shall establish and
              fund the Professional Fee Escrow Account on or prior to the Effective Date. The
              Professional Fee Escrow Account shall be maintained in trust solely for the
              Professionals. Except as provided in the last sentence of this paragraph, such funds
              shall not be considered property of the Wind Down Estates. The Plan Administrator
              shall pay Professional Claims in Cash no later than five Business Days after such
              Claims are Allowed by Final Order of the Bankruptcy Court. Any funds remaining
              in the Professional Fee Escrow Account following the approval of all Professionals’
              final fee applications provided for in Section 3.4.1 and payment of all Professionals’
              Allowed Professional Claims shall be allocated between the Dotcom Customer Pool,
              the U.S. Customer Pool and the General Pool pursuant to the terms of the Plan
              Supplement and shall be distributed by the Plan Administrator pursuant to the Plan.

                      3.4.3     Professional Fee Reserve Amount. Professionals shall provide
              good-faith estimates of their Professional Claims for purposes of the Professional
              Fee Escrow Account and shall deliver such estimates to the Debtors no later than
              seven days prior to the anticipated Effective Date; provided that such estimates shall
              not be considered an admission or limitation with respect to the fees and expenses of
              such Professionals. If a Professional does not provide such an estimate, the Debtors
              may estimate, in their reasonable discretion, the Professional Claims of such
              Professional.

                      3.4.4     Post-Effective Date Fees and Expenses. Except as otherwise
              specifically provided in the Plan, from and after the Confirmation Date, the Plan
              Administrator, as the case may be, shall, in the ordinary course of business and
              without any further notice to or action, order or approval of the Bankruptcy Court,
              pay in Cash the reasonable and documented legal, professional or other fees and
              expenses related to implementation and Consummation of the Plan incurred by the
              Debtors, the Plan Administrator or the Committee, as the case may be, in each case


                                                 -20-
               Case 22-11068-JTD            Doc 2100          Filed 07/31/23      Page 39 of 80




               in accordance with the Wind Down Budget. Except as otherwise specifically
               provided in the Plan, upon the Confirmation Date, any requirement that
               Professionals comply with section 327, 328, 329, 330, 331 or 1103 of the
               Bankruptcy Code or the Professional Fee Order in seeking retention or compensation
               for services rendered after such date shall terminate, and the Debtors, the Plan
               Administrator or, solely with respect to the matters set forth in Section 13.9, the
               Committee, may employ and pay any Professional in the ordinary course of
               business, in each case subject to the Wind Down Budget.

        3.5.     Statutory Fees Payable Pursuant to 28 U.S.C. § 1930

                All fees due and payable pursuant to section 1930 of Title 28 of the United States
Code before the Effective Date, including any applicable interest payable under section 3717 of
Title 31 of the United States Code, shall be paid by the Debtors. On and after the Effective Date,
to the extent applicable, the Plan Administrator shall pay any and all such fees and interest when
due and payable (including any fraction thereof) until the earliest of the Chapter 11 Cases being
closed, dismissed or converted to cases under chapter 7 of the Bankruptcy Code.

        3.6.     Priority Tax Claims

               Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, or as ordered by the Bankruptcy Court, the Holder of an Allowed Priority
Tax Claim shall be treated in accordance with section 1129(a)(9)(C) of the Bankruptcy Code.

        3.7.     Expense Allocation

                Unless otherwise specified herein, the Plan Administrator shall allocate
Administrative Claims, professional or other fees and expenses related to the implementation and
Consummation of the Plan and expenses and costs of administering the Wind Down Estates
(collectively, “Case Expenses”) as follows: (a) all Case Expenses related to the Bahamian
Subsidiaries or the sale, disposition or other monetization of property of the Debtors associated
with the FTX.com Exchange shall be allocated solely to the Dotcom Customer Pool; (b) all Case
Expenses related to the sale, disposition or other monetization of property of the Debtors
associated with the FTX.US Exchange shall be allocated solely to the U.S. Customer Pool; and
(c) all other Case Expenses shall be allocated between the Dotcom Customer Pool, the U.S.
Customer Pool and the General Pool pursuant to the terms of the Plan Supplement.8




8
    Note to Draft: The Debtors will allocate such other Case Expenses pro rata based on their estimate of relative
    distributable value in each pool as of the date of confirmation of the Plan.


                                                       -21-
                Case 22-11068-JTD          Doc 2100        Filed 07/31/23   Page 40 of 80




4.       CLASSIFICATION, TREATMENT AND VOTING OF CLAIMS AND INTERESTS

         4.1.       Classification of Claims and Interests.

                 All Claims and Interests except for Administrative Claims, 503(b)(9) Claims and
Priority Tax Claims are classified in the Classes set forth in this Article 4. A Claim or Interest is
classified in a particular Class only to the extent that the Claim or Interest qualifies within the
description of that Class and is classified in other Classes to the extent that any portion of the
Claim or Interest qualifies within the description of such other Classes. A Claim or Interest also
is classified in a particular Class for the purpose of receiving Distributions pursuant to the Plan
only to the extent that such Claim or Interest is Allowed as a Claim or Interest in that Class and
has not been paid, released or otherwise satisfied prior to the Effective Date.

             4.1.1 Summary of Classification and Treatment. The classification of Claims and
     Interests pursuant to the Plan is as follows:

           Class               Claims and Interests                  Status       Voting Rights
             1                 Other Priority Claims               Unimpaired   Not Entitled to Vote,
                                                                                 Deemed to Accept
                2                  Secured Claims                  Unimpaired   Not Entitled to Vote,
                                                                                 Deemed to Accept
                3            Separate Subsidiary Claims            Unimpaired   Not Entitled to Vote,
                                                                                 Deemed to Accept
            4A         Dotcom Customer Entitlement Claims           Impaired      Entitled to Vote
            4B          U.S. Customer Entitlement Claims            Impaired      Entitled to Vote
            4C          NFT Customer Entitlement Claims             Impaired      Entitled to Vote
             5              General Unsecured Claims                Impaired      Entitled to Vote
            6A             Dotcom Convenience Claims                Impaired      Entitled to Vote
            6B              U.S. Convenience Claims                 Impaired      Entitled to Vote
            6C             General Convenience Claims               Impaired      Entitled to Vote
             7                Intercompany Claims                   Impaired    Not Entitled to Vote,
                                                                                 Deemed to Reject
                8              Intercompany Interests               Impaired    Not Entitled to Vote,
                                                                                 Deemed to Reject
            9                   Subordinated Claims                 Impaired      Entitled to Vote
            10                     FTT Claims                       Impaired    Not Entitled to Vote,
                                                                                 Deemed to Reject
            11                Preferred Equity Interests            Impaired    Not Entitled to Vote,
                                                                                 Deemed to Reject
            12                 Section 510(b) Claims                Impaired    Not Entitled to Vote,
                                                                                 Deemed to Reject
            13                 Other Equity Interests               Impaired    Not Entitled to Vote,
                                                                                 Deemed to Reject




                                                    -22-
       Case 22-11068-JTD          Doc 2100         Filed 07/31/23   Page 41 of 80




4.2.     General Pool Waterfall

         Proceeds in the General Pool shall be applied in the following manner:

         (a)       first, to pay (i) Allowed Claims subject to the treatment set forth in Article
                   3 (other than Case Expenses that are not allocated to the General Pool
                   pursuant to Section 3.7) and (ii) Allowed Other Priority Claims;

         (b)       second, to pay the Allowed General Convenience Claims;

         (c)       third, with respect to [•] percent of the amount next available for
                   Distribution from the General Pool, to pay the Allowed Dotcom
                   Intercompany Shortfall Claim and the Allowed U.S. Intercompany
                   Shortfall Claim on a Pro Rata basis;

         (d)       fourth, with respect to the remaining amount available for Distribution
                   from the General Pool, to pay Allowed General Unsecured Claims, the
                   Allowed Dotcom Intercompany Shortfall Claim and the Allowed U.S.
                   Intercompany Shortfall Claim on a Pro Rata basis; and

         (e)       fifth, to pay Allowed Subordinated Claims.

4.3.     Treatment of Claims and Interests

   4.3.1       Class 1 – Other Priority Claims

                   (a)     Classification: Class 1 consists of all Other Priority Claims.

                   (b)     Treatment: Except to the extent that a Holder of an Allowed Other
                           Priority Claim agrees to less favorable treatment, in full and final
                           satisfaction, settlement, release and discharge of and in exchange
                           for its Allowed Other Priority Claim, each Holder of such Allowed
                           Other Priority Claim shall be paid in full in Cash on or as soon as
                           reasonably practicable after the latest of (i) the Effective Date,
                           (ii) the date on which such Other Priority Claim becomes Allowed
                           and (iii) such other date as may be ordered by the Bankruptcy
                           Court.

                   (c)     Voting: Claims in Class 1 are Unimpaired. Each Holder of an
                           Other Priority Claim is conclusively deemed to have accepted the
                           Plan pursuant to section 1126(f) of the Bankruptcy Code. No
                           Holder of Other Priority Claims is entitled to vote to accept or
                           reject the Plan.

  4.3.2        Class 2 –Secured Claims

                   (a)     Classification: Class 2 consists of Secured Claims.



                                            -23-
 Case 22-11068-JTD         Doc 2100        Filed 07/31/23    Page 42 of 80




            (b)    Treatment: Except to the extent that a Holder of an Allowed
                   Secured Claim agrees to less favorable treatment, in full and final
                   satisfaction, settlement, release and discharge of and in exchange
                   for its Allowed Secured Claim, each Holder of an Allowed
                   Secured Claim shall receive one of the following treatments, in the
                   sole discretion of the Plan Administrator: (i) payment in full in
                   Cash; (ii) delivery of the collateral securing such Allowed Secured
                   Claim; or (iii) treatment of such Allowed Secured Claim in any
                   other manner that renders the Claim Unimpaired.

            (c)    Voting: Claims in Class 2 are Unimpaired. Each Holder of an
                   Secured Claim is conclusively deemed to have accepted the Plan
                   pursuant to section 1126(f) of the Bankruptcy Code. No Holder of
                   an Secured Claim is entitled to vote to accept or reject the Plan.

4.3.3   Class 3 – Separate Subsidiary Claims

            (a)    Classification: Class 3 consists of all Separate Subsidiary Claims.

            (b)    Treatment: Except to the extent that a Holder of an Allowed
                   Separate Subsidiary Claim agrees to less favorable treatment, and
                   in full and final satisfaction, settlement, release and discharge of
                   and in exchange for its Allowed Separate Subsidiary Claim, each
                   Holder of an Allowed Separate Subsidiary Claim shall receive
                   payment in full in Cash on or as soon as reasonably practicable
                   after the latest of (i) the Effective Date, (ii) the date on which such
                   Allowed Separate Subsidiary Claim becomes Allowed; and
                   (iii) such other date as may be ordered by the Bankruptcy Court.

            (c)    Voting: Claims in Class 3 are Unimpaired. Each Holder of a
                   Separate Subsidiary Claim is conclusively deemed to have
                   accepted the Plan pursuant to section 1126(f) of the Bankruptcy
                   Code. No Holder of a Separate Subsidiary Claim is entitled to vote
                   to accept or reject the Plan.

4.3.4   Class 4A – Dotcom Customer Entitlement Claims

            (a)    Classification: Class 4A consists of all Dotcom Customer
                   Entitlement Claims.

            (b)    Treatment: Except to the extent that a Holder of an Allowed
                   Dotcom Customer Entitlement Claim agrees to less favorable
                   treatment, and in full and final satisfaction, settlement, release and
                   discharge of and in exchange for its Allowed Dotcom Customer
                   Entitlement Claims, each Holder of an Allowed Dotcom Customer
                   Entitlement Claim shall receive payment in Cash in an amount



                                    -24-
              Case 22-11068-JTD            Doc 2100          Filed 07/31/23      Page 43 of 80




                                   equal to such Holder’s Pro Rata share of the Dotcom Customer
                                   Pool.9

                          (c)      Voting: Claims in Class 4A are Impaired. Each Holder of a
                                   Dotcom Customer Entitlement Claims is entitled to vote to accept
                                   or reject the Plan.

           4.3.5    Class 4B – U.S. Customer Entitlement Claims

                          (a)      Classification: Class 4B consists of all U.S. Customer Entitlement
                                   Claims.

                          (b)      Treatment: Except to the extent that a Holder of an Allowed U.S.
                                   Customer Entitlement Claim agrees to less favorable treatment,
                                   and in full and final satisfaction, settlement, release and discharge
                                   of and in exchange for its Allowed U.S. Customer Entitlement
                                   Claims, each Holder of an Allowed U.S. Customer Entitlement
                                   Claim shall receive payment in Cash in an amount equal to such
                                   Holder’s Pro Rata share of the U.S. Customer Pool.

                          (c)      Voting: Claims in Class 4B are Impaired. Each Holder of a U.S.
                                   Customer Entitlement Claim is entitled to vote to accept or reject
                                   the Plan.

           4.3.6    Class 4C – NFT Customer Entitlement Claims

                          (a)      Classification: Class 4C consists of all NFT Customer Entitlement
                                   Claims.

                          (b)      Treatment: Except to the extent that a Holder of an Allowed NFT
                                   Customer Entitlement Claim agrees to less favorable treatment,
                                   and in full and final satisfaction, settlement, release and discharge
                                   of and in exchange for its Allowed NFT Customer Entitlement
                                   Claim, each Holder of an Allowed NFT Customer Entitlement
                                   Claim shall receive the Available NFT associated with such
                                   Allowed NFT Customer Entitlement Claim.

                          (c)      Voting: Claims in Class 4C are Impaired. Each Holder of an NFT
                                   Customer Entitlement Claim is entitled to vote to accept or reject
                                   the Plan.



9
    Note to Draft: If the Debtors decide to establish the Offshore Exchange Company, the Debtors may determine
    that, rather than Cash, the Offshore Exchange Company will remit non-cash consideration to the Dotcom
    Customer Pool in the form of equity securities, tokens or other interests in the Offshore Exchange Company, or
    rights to invest in such equity securities, tokens or other interests (“Take-Back Interests”). Any Take-Back
    Interests will be made available to Holders of Dotcom Customer Entitlement Claims on a pro rata basis, subject
    to applicable securities and other laws.


                                                      -25-
               Case 22-11068-JTD             Doc 2100         Filed 07/31/23       Page 44 of 80




            4.3.7    Class 5 – General Unsecured Claims

                           (a)      Classification: Class 5 consists of all General Unsecured Claims.

                           (b)      Treatment: Except to the extent that a Holder of an Allowed
                                    General Unsecured Claim agrees to less favorable treatment, and in
                                    full and final satisfaction, settlement, release and discharge of and
                                    in exchange for its Allowed General Unsecured Claim, each
                                    Holder of an Allowed General Unsecured Claim shall receive
                                    payment in Cash in an amount equal to such Holder’s Pro Rata
                                    share of General Pool Distributions in accordance with the
                                    waterfall priority set forth in Section 4.2.

                           (c)      Voting: Claims in Class 5 are Impaired. Each Holder of a General
                                    Unsecured Claim is entitled to vote to accept or reject the Plan.

            4.3.8    Class 6A – Dotcom Convenience Claims

                           (a)      Classification: Class 6A consists of all Dotcom Convenience
                                    Claims.

                           (b)      Treatment: On the later of the Initial Distribution Date or as soon
                                    as reasonably practicable after a Dotcom Convenience Claim
                                    becomes Allowed, in full and final satisfaction, settlement, release,
                                    and discharge of and in exchange for its Allowed Dotcom
                                    Convenience Claim, each Holder of an Allowed Dotcom
                                    Convenience Claim shall receive payment in Cash in an amount
                                    equal to [•] percent of such Allowed Dotcom Convenience
                                    Claim;10 provided that the aggregate amount of Cash received by
                                    Holders of Dotcom Convenience Claims on account of their
                                    Dotcom Convenience Claim shall not exceed $[•].

                           (c)      Voting: Claims in Class 6A are Impaired. Each Holder of a
                                    Dotcom Convenience Claim is entitled to vote to accept or reject
                                    the Plan.

                       4.3.9        Class 6B – U.S. Convenience Claims

                           (a)      Classification: Class 6B consists of all U.S. Convenience Claims.

                           (b)      Treatment: On the later of the Initial Distribution Date or as soon
                                    as reasonably practicable after a U.S. Convenience Claim becomes
                                    Allowed, in full and final satisfaction, settlement, release, and
                                    discharge of and in exchange for its Allowed U.S. Convenience
                                    Claim, each Holder of an Allowed U.S. Convenience Claim shall
                                    receive payment in Cash in an amount equal to [•] percent of such

10
     Note to Draft: Threshold to be determined based on net present value of projected recoveries for Class 4A.


                                                       -26-
               Case 22-11068-JTD             Doc 2100         Filed 07/31/23       Page 45 of 80




                                    Allowed U.S. Convenience Claim;11 provided that the aggregate
                                    amount of Cash received by Holders of U.S. Convenience Claims
                                    on account of their Dotcom Convenience Claim shall not exceed
                                    $[•].

                           (c)      Voting: Claims in Class 6B are Impaired. Each Holder of a U.S.
                                    Convenience Claim is entitled to vote to accept or reject the Plan.

            4.3.10 Class 6C – General Convenience Claims

                           (a)      Classification: Class 6C consists of all General Convenience
                                    Claims.

                           (b)      Treatment: On the later of the Initial Distribution Date or as soon
                                    as reasonably practicable after a General Convenience Claim
                                    becomes Allowed, in full and final satisfaction, settlement, release,
                                    and discharge of and in exchange for its Allowed General
                                    Convenience Claim, each Holder of an Allowed General
                                    Convenience Claim shall receive payment in Cash in an amount
                                    equal to [•] percent of such Allowed General Convenience
                                    Claim;12 provided that the aggregate amount of Cash received by
                                    Holders of General Convenience Claims on account of their
                                    Dotcom Convenience Claim shall not exceed $[•].

                           (c)      Voting: Claims in Class 6C are Impaired. Each Holder of a
                                    General Convenience Claim is entitled to vote to accept or reject
                                    the Plan.

            4.3.11 Class 7 – Intercompany Claims

                           (a)      Classification: Class 7 consists of all Intercompany Claims.

                           (b)      Treatment: All Intercompany Claims shall be canceled, released or
                                    otherwise settled in full, and the Holders of Intercompany Claims
                                    shall not be entitled to, and shall not receive or retain, any
                                    Distributions, property or interest in property on account of such
                                    Claims under the Plan.

                           (c)      Voting: Claims in Class 7 are Impaired. Each Holder of an
                                    Intercompany Claim is conclusively deemed to have rejected the
                                    Plan pursuant to section 1126(g) of the Bankruptcy Code. No
                                    Holder of an Intercompany Claim is entitled to vote to accept or
                                    reject the Plan.



11
     Note to Draft: Threshold to be determined based on net present value of projected recoveries for Class 4B.
12
     Note to Draft: Threshold to be determined based on net present value of projected recoveries for Class 5.


                                                       -27-
 Case 22-11068-JTD        Doc 2100         Filed 07/31/23   Page 46 of 80




4.3.12 Class 8 – Intercompany Interests

           (a)     Classification: Class 8 consists of all Intercompany Interests.

           (b)     Treatment: No Holder of an Intercompany Interest shall receive
                   any Distributions on account of its Intercompany Interest. On and
                   after the Effective Date, all Intercompany Interests shall be
                   canceled and shall be of no further force and effect, whether
                   surrendered for cancelation or otherwise.

           (c)     Voting: Claims in Class 8 are Impaired. Each Holder of an
                   Intercompany Interest is conclusively deemed to have rejected the
                   Plan pursuant to section 1126(g) of the Bankruptcy Code. No
                   Holder of an Intercompany Interest is entitled to vote to accept or
                   reject the Plan.

4.3.13 Class 9 – Subordinated Claims

           (a)     Classification: Class 9 consists of all Subordinated Claims.

           (b)     Treatment: Except to the extent that a Holder of an Allowed
                   Subordinated Claim agrees to less favorable treatment, and in full
                   and final satisfaction, settlement, release and discharge of and in
                   exchange for its Allowed Subordinated Claim, each Holder of an
                   Allowed Subordinated Claim shall receive its Pro Rata share equal
                   to such Holder’s Pro Rata share of General Pool Distributions in
                   accordance with the waterfall priority set forth in Section 4.2.

           (c)     Voting: Claims in Class 9 are Impaired. Each Holder of a General
                   Convenience Claim is entitled to vote to accept or reject the Plan.

4.3.14 Class 10 – FTT Claims

           (a)     Classification: Class 10 consists of all FTT Claims.

           (b)     Treatment: No Holder of a FTT Claim shall receive any
                   Distributions on account of its FTT Claim. On and after the
                   Effective Date, all FTT Claims shall be canceled, released and
                   extinguished and shall be of no further force and effect, whether
                   surrendered for cancelation or otherwise.

           (c)     Voting: Claims in Class 10 are Impaired. Each Holder of a FTT
                   Claim is conclusively deemed to have rejected the Plan pursuant to
                   section 1126(g) of the Bankruptcy Code. No Holder of a FTT
                   Claim is entitled to vote to accept or reject the Plan.




                                    -28-
 Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 47 of 80




4.3.15 Class 11 – Preferred Equity Interests

            (a)    Classification: Class 11 consists of all Preferred Equity Interests.

            (b)    Treatment: No Holder of a Preferred Equity Interest shall receive
                   any Distributions on account of its Preferred Equity Interest. On
                   and after the Effective Date, all Preferred Equity Interests shall be
                   canceled, released and extinguished and shall be of no further force
                   and effect, whether surrendered for cancelation or otherwise.

            (c)    Voting: Claims in Class 11 are Impaired. Each Holder of a
                   Preferred Equity Interest is conclusively deemed to have rejected
                   the Plan pursuant to section 1126(g) of the Bankruptcy Code. No
                   Holder of a Preferred Equity Interest is entitled to vote to accept or
                   reject the Plan.

4.3.1   Class 12 – Section 510(b) Claims

            (a)    Classification: Class 12 consists of all Section 510(b) Claims.

            (b)    Treatment: No Holder of a Section 510(b) Claim shall receive any
                   Distributions on account of its Section 510(b) Claim. On and after
                   the Effective Date, all Section 510(b) Claims shall be canceled,
                   released and extinguished and shall be of no further force and
                   effect, whether surrendered for cancelation or otherwise.

            (c)    Voting: Claims in Class 12 are Impaired. Each Holder of a
                   Section 510(b) Claim is conclusively deemed to have rejected the
                   Plan pursuant to section 1126(g) of the Bankruptcy Code. No
                   Holder of a Section 510(b) Claim is entitled to vote to accept or
                   reject the Plan.

4.3.1 Class 13 – Other Equity Interests

            (a)    Classification: Class 13 consists of all Other Equity Interests.

            (b)    Treatment: No Holder of an Other Equity Interest shall receive
                   any Distributions on account of its Other Equity Interest. On and
                   after the Effective Date, all Other Equity Interests shall be
                   canceled, released and extinguished and shall be of no further force
                   and effect, whether surrendered for cancelation or otherwise.

            (c)    Voting: Claims in Class 13 are Impaired. Each Holder of an Other
                   Equity Interest is conclusively deemed to have rejected the Plan
                   pursuant to section 1126(g) of the Bankruptcy Code. No Holder of
                   an Other Equity Interest is entitled to vote to accept or reject the
                   Plan.


                                    -29-
                Case 22-11068-JTD           Doc 2100          Filed 07/31/23      Page 48 of 80




         4.4.     Valuation of Claims

               Unless otherwise expressly provided herein, the value of a Claim in respect of a
Digital Asset shall be calculated by converting the value of such Digital Asset into Cash as of the
Petition Date utilizing the conversion rates set forth in the Digital Assets Conversion Table.13

         4.5.     Special Provision Governing Unimpaired Claims

               Except as otherwise provided herein, the Plan shall not affect the Plan
Administrator’s rights in respect of any Unimpaired Claims, including legal and equitable
defenses or setoff or recoupment rights with respect thereto.

         4.6.     Acceptance by Impaired Classes

                An Impaired Class of Claims shall have accepted the Plan if: (i) the Holders
(other than any Holder designated under section 1126(e) of the Bankruptcy Code) of at least two-
thirds in amount of the Claims entitled to vote actually voting in such Class have voted to accept
the Plan; and (ii) the Holders (other than any Holder designated under section 1126(e) of the
Bankruptcy Code) of more than one-half in number of the Claims entitled to vote actually voting
in such Class have voted to accept the Plan.

         4.7.     Elimination of Vacant Classes

                Any Class of Claims or Interests that does not have a Holder of an Allowed Claim
or an Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court as of
the date of the Confirmation Hearing shall be deemed eliminated from the Plan for purposes of
voting to accept or reject the Plan and for purpose of determining acceptance or rejection of the
Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

         4.8.     Voting Classes; Presumed Acceptance by Non-Voting Classes

                If a Class of Claims or Interests is eligible to vote and no Holder of Claims or
Interests, as applicable, in such Class votes to accept or reject the Plan, the Plan shall be
presumed accepted by such Class.

         4.9.     Confirmation Pursuant to Sections 1129(a) and 1129(b) of the Bankruptcy Code

                 For purposes of Confirmation, section 1129(a)(10) of the Bankruptcy Code shall
be satisfied if any one of Class 4A, 4B, 4C, 5, 6A, 6B, 6C or 9 accepts the Plan. The Debtors
shall seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with
respect to any rejecting Class or Classes of Claims and Interests. Classes 7, 8, 10, 11, 12 and 13
are deemed to reject the Plan.


13
     Note to Draft: Where a Claim reflects an underlying Digital Asset (other than an NFT), such Claim will be
     liquidated in U.S. Dollars based on the fair market value at the Petition Date. The fair market value will be
     determined based on a conversion table attached to the Digital Assets Estimation Order, approving the omnibus
     digital assets estimation motion filed by the Debtors in advance of Plan solicitation.


                                                       -30-
                Case 22-11068-JTD            Doc 2100          Filed 07/31/23      Page 49 of 80




5.       IMPLEMENTATION OF THE PLAN14

         5.1.     Operations Between the Confirmation Date and Effective Date

               During the period from the Confirmation Date through and until the Effective
Date, the Debtors may continue to operate as debtors-in-possession, subject to all applicable
orders of the Bankruptcy Court.

         5.2.     Global Settlement of Claims and Interests

                As discussed in detail in the Disclosure Statement and as otherwise provided
under the Plan, and pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy
Rule 9019, and in consideration for the classification, treatment, Distributions, releases and other
benefits provided under the Plan, on the Effective Date, the provisions of the Plan shall
constitute a good-faith compromise, settlement and resolution (the “Global Settlement”) of
various Claims, Interests, Causes of Action, controversies and disputes arising from or related to,
among other things: (a) the purported fraud, unjust enrichment, misappropriation, conversion
and misconduct of former Insiders; (b) the contractual, structural and legal subordination rights
that a Holder of a Claim or Interest may have with respect to any Allowed Claim, Interest or any
Distribution to be made on account of such Allowed Claim or Interest; (c) the purported
commingling and misuse of customer deposits and corporate funds; (d) the tracing of assets of
individual Debtors to particular sources of funding; (e) the allocation of corporate and
administrative expenses across each of the Debtors; (f) the effects and consequences of the
Debtors’ Terms of Service and whether the assets held by the FTX.com Exchange and the
FTX.US Exchange are property of the Debtors’ Estates; (g) the purported absence of adequate
corporate governance, cash management, accounting and cybersecurity controls by the Debtors
and their Affiliates prior to the commencement of the Chapter 11 Cases; and (h) the costs and
risks to the Debtors’ Estates and creditor recoveries otherwise associated with prolonged
litigation of each of the foregoing.

                Pursuant to, and as part of, the Global Settlement: (i) the value of Claims in
respect of Digital Assets shall be calculated pursuant to Section 4.4; (ii) the Dotcom
Intercompany Shortfall Claim and the U.S. Intercompany Shortfall Claim shall be recognized for
the benefit of Holders of Allowed Dotcom Customer Entitlement Claims and Allowed U.S.
Customer Entitlement Claims; (iii) Claims shall be classified and treated as set forth in Article 4,
which entitles Holders of Allowed Dotcom Customer Entitlement Claims and Allowed U.S.
Customer Entitlement Claims to recover against the (x) Dotcom Customer Pool and the U.S.

14
     Note to Draft: In addition to the implementation mechanisms described herein, the Debtors also may establish a
     new limited liability trust company (the “FTX Ventures Trust”) to hold the Debtors’ illiquid venture capital,
     private company and token investments that will not be sold at the time of effectiveness and are not anticipated
     to be sold by the Plan Administrator promptly after effectiveness as part of the Wind Down Estate. The purpose
     of the FTX Ventures Trust will be to make cash distributions on a time horizon to be determined based on the
     nature of its investments.
     The Debtors will determine the management structure and corporate governance arrangements for the FTX
     Ventures Trust in consultation with customer and creditor representatives prior to confirmation of the Plan. The
     Debtors have made no determination whether the FTX Ventures Trust will be owned by the Wind Down Estate
     or separately traded.


                                                        -31-
              Case 22-11068-JTD       Doc 2100         Filed 07/31/23   Page 50 of 80




Customer Pool, respectively, and (y) General Pool, in accordance with the waterfall priority set
forth in Section 4.2; (iv) the Consolidated Debtors shall be substantively consolidated as set forth
in Section 5.3; (v) Intercompany Claims shall be canceled; (vi) the Subordinated Claims shall be
subordinated to Claims of other Holders; (vii) FTT Claims and Equity Interests shall be
canceled; and (viii) Distributions to customers and creditors shall be made in Cash (other than in
Available NFTs) as set forth in Articles 4 and 7.

                 The Plan shall be deemed a motion to approve the Global Settlement pursuant to
Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the Global Settlement under section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, as well as findings by the Bankruptcy Court that the Global Settlement is
fair, equitable, reasonable and in the best interests of the Debtors, their Estates and Holders of
Claims and Interests.

               Any settlement agreement entered into among any of the Debtors and Holders of
Claims or Interests that is contained in the Plan Supplement is incorporated into the Plan and
shall become effective in accordance with its terms.

       5.3.     Substantive Consolidation

                As discussed in detail in the Disclosure Statement and as otherwise provided
pursuant to the Plan, and pursuant to sections 363 and 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, and in consideration for the Global Settlement, the classification,
treatment, Distributions, releases and other benefits provided under the Plan, the Plan shall be
deemed a motion by the Debtors seeking the approval, effective as of the Effective Date, of the
substantive consolidation of the Estates of the Consolidated Debtors into a single Estate for the
limited purposes of the Plan, including Voting, Confirmation and Distribution subject in all
respects to (a) the classification and treatment of Claims and Interests set forth in Article 4 and
(b) this Section 5.3. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval of such substantive consolidation, as well as findings by the Bankruptcy Court that such
substantive consolidation is fair, equitable, reasonable and in the best interests of the Debtors,
their Estates and Holders of Claims and Interests.

                Except as otherwise provided herein and subject in all respects to the
classification and treatment of Claims and Interests set forth in Article 4, as a result of the
substantive consolidation set forth in this Section 5.3: (a) all assets (other than the Dotcom
Customer Pool and the U.S. Customer Pool) and all liabilities of the Consolidated Debtors shall
be treated as though they were merged; (b) all guarantees of any Consolidated Debtor of the
payment, performance or collection of obligations of another Consolidated Debtor shall be
eliminated and canceled; (c) all joint obligations of two or more Consolidated Debtors and
multiple Claims against such Entities on account of such joint obligations shall be treated and
allowed as a single Claim against the Consolidated Debtors; (d) all Claims between any
Consolidated Debtors (other than the Dotcom Intercompany Shortfall Claim and the U.S.
Intercompany Shortfall Claim) shall be deemed canceled; and (e) each Claim filed or scheduled
in the Chapter 11 Case of any Consolidated Debtor shall be deemed filed against the
Consolidated Debtors and a single obligation of the Estate of the Consolidated Debtors. Except
as otherwise provided herein, the substantive consolidation set forth in this Section 5.3 shall not


                                                -32-
                Case 22-11068-JTD          Doc 2100          Filed 07/31/23     Page 51 of 80




affect (other than for purposes of the Plan as set forth in this section): (i) the legal and
organizational structure of the Consolidated Debtors; (ii) defenses to any Causes of Action or
requirements for any third party to establish mutuality to assert a right of setoff; provided that
any Claim or Interest that is Allowed against any Consolidated Debtor shall be deemed Allowed
against the Estate of all Consolidated Debtors; or (iii) distributions out of any insurance contracts
or any Entity’s or Person’s rights, if any, to proceeds of such insurance contracts. The Plan shall
not otherwise result in the merger or affect the separate legal existence of each Debtor for any
other purpose.

         5.4.     Wind Down Estates

                 The purpose of the Wind Down Estates is to monetize and distribute the Plan
Assets, with no objective to continue or engage in the conduct of a trade or business. The Wind
Down Estates shall administer, and close as necessary, the Chapter 11 Cases; administer,
reconcile and settle claims; monetize remaining assets; and liquidate the Debtors and their non-
Debtor subsidiaries pursuant to the terms of the Plan Supplement. The Plan Administrator shall
be vested with all powers and authority set forth in this Plan and the Plan Administration
Agreement, shall be deemed to have been appointed as the Debtors’ Estates’ representative
pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, and shall have the duties of a trustee
set forth in sections 704(a)(1), 704(a)(2) and 704(a)(5) of the Bankruptcy Code.

         5.5.     Plan Funding Mechanism

                Distributions under the Plan shall be funded from (a) Cash on hand, (b) Available
NFTs, (c) Wind Down Cash Proceeds, and (d) any other Plan Assets, except as expressly set
forth herein.15

         5.6.     Plan Administrator

                The Plan Administrator shall be the Debtors’ Chief Restructuring Officer, and
appointment of the Plan Administrator shall be approved in the Confirmation Order. The powers
and duties of the Plan Administrator shall be set forth in this Plan and the Plan Administration
Agreement. The Plan Administrator shall report to the incumbent Board of Directors of the
Debtors pursuant to the terms of this Plan and the Plan Administration Agreement. The Plan
Administrator shall be a fiduciary of the Wind Down Estates and shall be compensated and
reimbursed for expenses as set forth in, and in accordance with, the Plan Administration
Agreement.

         5.7.     Vesting of Assets

                Except as otherwise expressly provided in this Plan or the Confirmation Order, as
of the Effective Date, all Plan Assets shall vest in the Wind Down Estates free and clear of all
Liens, Claims, charges or other encumbrances or interests to the extent permitted by section 1141
of the Bankruptcy Code. All property held for Distribution pursuant to the Plan shall be held by

15
     Note to Draft: If the Debtors decide to establish the Offshore Exchange Company, the Debtors may determine
     that, rather than Cash, the Offshore Exchange Company will remit non-cash consideration to the Dotcom
     Customer Pool in the form of Take-Back Interests. See footnote 9.


                                                      -33-
              Case 22-11068-JTD       Doc 2100         Filed 07/31/23   Page 52 of 80




the Plan Administrator in trust for the Holders of Allowed Claims and Interests and to pay the
expenses of the administration of the Wind Down Estates, and shall not be deemed property of
the Debtors or Wind Down Estates.

       5.8.     D&O Policies

                As of the Effective Date, the Debtors shall be deemed to have assumed all of the
Debtors’ D&O Policies pursuant to sections 105 and 365(a) of the Bankruptcy Code. The
Debtors’ D&O Policies purchased on or after the Petition Date shall continue in force following
the Effective Date subject to the terms and conditions of such D&O Policies. Coverage for
defense and indemnity under any assumed or continued D&O Policies shall remain available
within the definition of “Insured” in any of the D&O Policies subject to the terms and conditions
of such D&O Policies. Entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval of the Debtors’ foregoing assumption or continuation, as applicable, of each D&O
Policy. Notwithstanding anything to the contrary contained in the Plan, and except as otherwise
may be provided in an order of the Bankruptcy Court, Confirmation of the Plan shall not
discharge, impair or otherwise modify any obligations assumed by the foregoing assumption or
continuation of the D&O Policies, and each such obligation will be deemed and treated as an
Executory Contract that has been assumed by the Debtors under the Plan as to which no Proof of
Claim need be filed. For the avoidance of doubt, the D&O Policies (i) are prefunded and will not
require any additional premiums on or after the Effective Date, (ii) provide coverage for those
insureds currently covered by such policies for the remaining term of such policies and (iii) in
the case of the D&O Policies purchased on or after the Petition Date, provide runoff or tail
coverage after the Effective Date to the fullest extent permitted by such policies.

       5.9.     Cancelation of Existing Interests

                On the Effective Date, except as otherwise specifically provided for in the Plan or
any agreement, instrument or other document incorporated into the Plan, the obligations of the
Debtors under any Certificate, Interest, share, note, purchase right, option, warrant, intercreditor
agreement, guaranty, indemnity or other instrument or document directly or indirectly
evidencing or creating any indebtedness or obligation of or ownership interest in the Debtors or
giving rise to any Claim or Interest shall be canceled solely as to the Debtors, and the Debtors
shall not have any continuing obligations thereunder and shall be released therefrom.

       5.10.    Section 1146 Exemption from Certain Transfer Taxes and Recording Fees

                 Pursuant to, and to the fullest extent permitted by, section 1146(a) of the
Bankruptcy Code, any transfers from the Debtors to the Wind Down Estates or to any other
Person pursuant to, in contemplation of, or in connection with the Plan (including any transfer
pursuant to: (a) the Distribution, transfer or exchange of any debt, equity security or other
interest in the Debtors; or (b) the making, delivery or recording of any deed or other instrument
of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of
sale, assignments or other instrument of transfer executed in connection with any transaction
arising out of, contemplated by or in any way related to the Plan) shall not be subject to any
document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real
estate transfer tax, sales and use tax, mortgage recording tax, Uniform Commercial Code filing


                                                -34-
            Case 22-11068-JTD         Doc 2100         Filed 07/31/23   Page 53 of 80




or recording fee, regulatory filing or recording fee or other similar tax or governmental
assessment, and the appropriate state or local government officials or agents shall, and shall be
directed to, forgo the collection of any such tax, recordation fee or government assessment and to
accept for filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax, recordation fee or government assessment. The Bankruptcy Court shall
retain specific jurisdiction with respect to these matters.

       5.11.   Preservation of Causes of Action

                Except as otherwise provided in Article 10 or the other provisions of the Plan,
each Cause of Action of a Debtor shall be preserved and, along with the exclusive right to
enforce such Cause of Action, shall vest exclusively in the Wind Down Estates as of the
Effective Date. Any Claim or Cause of Action against any customer of an FTX Exchange
arising out of or relating to any transaction on an FTX Exchange shall be a Claim or Cause of
Action of the Debtors and shall vest exclusively in the Wind Down Estates as of the Effective
Date. Any such Claim or Cause of Action against any customer of the FTX.com Exchange shall
vest exclusively in the Wind Down Estates for the benefit of the Dotcom Customer Pool, and any
such Claim or Cause of Action against any customer of the FTX.US Exchange shall vest
exclusively in the Wind Down Estates for the benefit of the US Customer Pool. Unless a Cause
of Action is expressly waived, relinquished, released or compromised in the Plan or an order of
the Bankruptcy Court, the Plan Administrator expressly reserves such Cause of Action for later
adjudication and, accordingly, no doctrine of res judicata, collateral estoppel, issue preclusion,
claim preclusion, estoppel (judicial, equitable or otherwise), laches or other preclusion doctrine
shall apply to such Cause of Action as a consequence of Confirmation, the Plan, the vesting of
such Cause of Action in the Wind Down Estates, any order of the Bankruptcy Court or these
Chapter 11 Cases. No Person may rely on the absence of a specific reference in the Plan or the
Disclosure Statement to any Cause of Action against them as an indication that the Debtors or
the Plan Administrator, as applicable, will not pursue such Cause of Action.

       5.12.   Effectuating Documents and Further Transactions

               The Debtors or the Plan Administrator, as applicable, may take all actions to
execute, deliver, file or record such contracts, instruments, releases and other agreements or
documents, and take such actions as may be necessary or appropriate to effectuate and
implement the provisions of the Plan. The secretary, any assistant secretary or any other
appropriate officer of each Debtor shall be authorized to certify or attest to any of the foregoing
actions.

                Prior to, on or after the Effective Date (as appropriate), all matters provided for
pursuant to the Plan that would otherwise require approval of the shareholders, directors or
members of the Debtors shall be deemed to have been so approved and shall be in effect prior to,
on or after the Effective Date (as appropriate), pursuant to applicable law, and without any
requirement of further action by the shareholders, directors, managers or partners of the Debtors,
or the need for any approvals, authorizations, actions or consents.




                                                -35-
              Case 22-11068-JTD       Doc 2100        Filed 07/31/23   Page 54 of 80




6.     TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       6.1.     Rejection of Executory Contracts and Unexpired Leases

               Except as otherwise provided herein, and subject to the occurrence of the
Effective Date, all Executory Contracts and Unexpired Leases will be rejected by the Plan on the
Effective Date pursuant to sections 365 and 1123 of the Bankruptcy Code, other than
(a) Executory Contracts or Unexpired Leases previously assumed or rejected pursuant to an
order of the Bankruptcy Court, (b) Executory Contracts or Unexpired Leases that are the subject
of a pending motion to assume or (c) as is specifically described in the Plan to be assumed in
connection with the Plan or is specifically scheduled to be assumed or assumed and assigned
pursuant to the Plan. Entry of the Confirmation Order by the Bankruptcy Court shall constitute
approval of the rejection of such Executory Contracts and Unexpired Leases pursuant to sections
365 and 1123 of the Bankruptcy Code.

       6.2.     Claims Against the Debtors upon Rejection

               No Executory Contract or Unexpired Lease rejected by the Debtors on or prior to
the Effective Date shall create any obligation or liability of the Debtors that is not a Claim. Any
Proof of Claim arising from or relating to the rejection of an Executory Contract or Unexpired
Lease pursuant to the Plan must be filed with the Notice and Claims Agent before the Rejected
Contract Claims Bar Date. Any Claim arising from or relating to the rejection of an
Executory Contract or Unexpired Lease that is not filed with the Notice and Claims Agent
by the Rejected Contract Claims Bar Date will be automatically disallowed, forever barred
from assertion, and shall not be enforceable against the Debtors, the Debtors’ Estates, the
Wind Down Estates, the Plan Administrator or any of their property. Any Allowed Claim
arising from the rejection of an Executory Contract or Unexpired Lease shall be classified as a
General Unsecured Claim and shall be treated in accordance with Section 4.3.7.

       6.3.     Modification, Amendments, Supplements, Restatements or Other Agreements

                Unless otherwise provided in the Plan, each Executory Contract or Unexpired
Lease that is rejected shall include all modifications, amendments, supplements, restatements or
other agreements that in any manner affect such Executory Contract or Unexpired Lease, and all
Executory Contracts and Unexpired Leases related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal and any other
interests, unless any of the foregoing agreements have been previously rejected or repudiated or
are rejected or repudiated under the Plan.

              Modifications, amendments, supplements and restatements to Prepetition
Executory Contracts and Unexpired Leases that have been executed by the Debtors during the
Chapter 11 Cases shall not be deemed to alter the Prepetition nature of such Executory Contracts
or Unexpired Leases or the validity, priority or amount of any Claims that may arise in
connection therewith.




                                               -36-
              Case 22-11068-JTD         Doc 2100     Filed 07/31/23   Page 55 of 80




       6.4.     Reservation of Rights

                Nothing contained in the Plan shall constitute an admission by the Debtors that
any contract or lease is in fact an Executory Contract or Unexpired Lease, or that any Debtor has
any liability thereunder.




                                              -37-
                Case 22-11068-JTD             Doc 2100          Filed 07/31/23       Page 56 of 80




7.       PROVISIONS GOVERNING DISTRIBUTIONS

         7.1.     Distributions Timing

            7.1.1 Initial Distribution Date. On the Initial Distribution Date, the Distribution
     Agent shall commence Distributions under the Plan on account of each Claim that is Allowed
     on or prior to the Effective Date.16

             7.1.2 Subsequent Distribution Dates. The Plan Administrator shall identify, in his or
     her reasonable discretion and in accordance with the Plan Administration Agreement, periodic
     dates after the Initial Distribution Date to be Subsequent Distribution Dates for purposes of
     making additional Distributions under the Plan. Each Subsequent Distribution Date shall be a
     Business Day.

             7.1.3 Distributions to Holders of Claims Allowed After the Effective Date. The
     Distribution Agent shall make Distributions to Holders of Claims Allowed after the Effective
     Date in accordance with the applicable provision of Article 4 on the first Subsequent
     Distribution Date after such Claim is Allowed. Unless the Plan Administrator otherwise
     agrees, no partial Distribution shall be made with respect to such Claim until all disputes in
     connection with such Claim have been resolved by Final Order of the Bankruptcy Court.

         7.2.     Distributions to Holders of Customer Entitlement Claims

             7.2.1 Distributions of Dotcom Customer Entitlement Claims, U.S. Customer
     Entitlement Claim and Allocations of Wind Down Cash Proceeds. On any Distribution Date,
     the Plan Administrator may direct the Distribution Agent to Distribute to the Holders of
     Allowed Dotcom Customer Entitlement Claims or U.S. Customer Entitlement Claims the
     Wind Down Cash Proceeds that the Plan Administrator, in his or her reasonable discretion and
     in accordance with this Plan and the Plan Administration Agreement, determines are Wind
     Down Cash Proceeds that belong to the Dotcom Customer Pool or U.S. Customer Pool,
     respectively, in each case, in accordance with Sections 4.3.4 and 4.3.5.

             7.2.2 Final Distribution at Closing of the Chapter 11 Cases. On or prior to the
     closing of the Chapter 11 Cases, the Plan Administrator shall Distribute all remaining Wind
     Down Cash Proceeds to the Holders of Allowed Dotcom Customer Entitlement Claims,
     Allowed U.S. Customer Entitlement Claims and Allowed General Unsecured Claims,
     respectively, in each case, in accordance with Sections 4.3.4, 4.3.5 and 4.3.7.




16
     Note to Draft: Distributions dates shall be determined by the Plan Administrator in his or her reasonable
     discretion. To determine the “Initial Distribution Date,” the Plan Administrator shall consider, among many
     factors, the costs associated with making Distributions, the assets and liabilities of the Wind Down Estate,
     liquidity, projected revenues and cash flows, status likelihood of successful resolution of current and future
     litigation and tax considerations. The Initial Distribution Date may not be the Effective Date.


                                                         -38-
              Case 22-11068-JTD        Doc 2100        Filed 07/31/23   Page 57 of 80




       7.3.     Record Date and Delivery of Distributions

          7.3.1 Record Date for Distributions

        In advance of each Distribution Date, the Plan Administrator shall establish a
Distribution Record Date for purposes of determining the Holders of Allowed Claims entitled to
receive a Distribution on such Distribution Date, which Distribution Record Date shall be no less
than [•] and no more than [•] days prior to the corresponding Distribution Date. On each
Distribution Record Date, the Claims Register shall be closed and the Distribution Agent shall be
authorized and entitled to recognize only those Holders of Claims listed on the Claims Register
as of the close of business on such Distribution Record Date. If a Claim is transferred 20 or
fewer days before the applicable Distribution Record Date, the Distribution Agent shall make
distributions to the transferee only to the extent practical, and, in any event, only if the relevant
transfer form contains an unconditional and explicit certification and waiver of any objection to
the transfer by the transferor.

          7.3.2   Delivery of Distributions in General

        Except as otherwise provided herein, the Distribution Agent, at the direction of the Plan
Administrator, shall make all Distributions required under the Plan to Holders of Allowed
Claims. Except as otherwise provided herein, and notwithstanding any authority to the contrary,
Distributions to Holders of Allowed Claims shall be made to Holders of record as of the
applicable Distribution Record Date by the Distribution Agent, as appropriate: (a) to the
signatory set forth on any of the Proofs of Claim filed by such Holder or other representative
identified therein (or at the last known address of such Holder if no Proof of Claim is filed or if
the Debtors, the Plan Administrator or the Distribution Agent have been notified in writing of a
change of address); (b) at the address set forth in any written notice of change of address
delivered to the Notice and Claims Agent; or (c) at the address reflected in the Schedules if no
Proof of Claim has been filed and the Notice and Claims Agent has not received a written notice
of a change of address. The Debtors, the Plan Administrator, the Distribution Agent and the
Notice and Claims Agent shall not incur any liability whatsoever on account of the delivery of
any Distributions under the Plan.

        In the event that any payment or distribution under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or distribution
may be completed on the next succeeding Business Day but shall be deemed to have been
completed as of the required date. Except as specifically provided in the Plan, Holders of
Allowed Claims shall not be entitled to interest, dividends or accruals on the Distributions
provided for in the Plan, regardless of whether such Distributions are delivered on or at any time
after the Effective Date.

          7.3.3 Foreign Currency Exchange Rate

                Except as otherwise provided herein, an order of the Bankruptcy Court or as
agreed to by the Holder and the Debtors or the Plan Administrator, as applicable, any Claim
asserted in a currency other than U.S. dollars shall be automatically deemed converted to the
equivalent U.S. dollars at the Exchange Rate.


                                                -39-
              Case 22-11068-JTD        Doc 2100         Filed 07/31/23   Page 58 of 80




       7.4.     Distribution Agent

                 The Plan Administrator shall have the authority, in its sole discretion, to enter into
an agreement with a Distribution Agent to facilitate the Distributions required under the Plan.
To the extent the Plan Administrator determines to utilize a Distribution Agent to facilitate the
Distributions, such Distribution Agent would first be required to: (a) affirm its obligation to
facilitate the prompt distribution of any documents; (b) affirm its obligation to facilitate the
prompt distribution of any recoveries or Distributions required under the Plan; and (c) waive any
right or ability to set off, deduct from or assert any Lien or other encumbrance against the
Distributions required under the Plan to be distributed by such Distribution Agent.

                The Plan Administrator shall pay to the Distribution Agent all of its reasonable
and documented fees and expenses without the need for any approvals, authorizations, actions or
consents of the Bankruptcy Court or otherwise. The Distribution Agent shall submit detailed
invoices to the Plan Administrator for all fees and expenses for which the Distribution Agent
seeks reimbursement, and the Plan Administrator shall pay those amounts that it, in its sole
discretion, deems reasonable, and shall object to those fees and expenses, if any, that the Plan
Administrator deems to be unreasonable. In the event that the Plan Administrator objects to all
or any portion of the amounts requested to be reimbursed in the Distribution Agent’s invoice, the
Plan Administrator and the Distribution Agent shall endeavor, in good faith, to reach mutual
agreement on the amount of the appropriate payment of such disputed fees and/or expenses. In
the event that the Plan Administrator and the Distribution Agent are unable to resolve any
differences regarding disputed fees or expenses, either party shall be authorized to move to have
such dispute heard by the Bankruptcy Court.

       7.5.     Fractional and De Minimis Distributions

               Notwithstanding anything herein to the contrary, the Plan Administrator and the
Distribution Agent shall not be required to make Cash Distributions or payments of less than
$[•]. Any Holder of an Allowed Claim on account of which the amount of Cash or other
property to be distributed is less than $[•] shall be forever barred from asserting such Claim
against the Debtors, the Estates, the Plan Administrator, the Wind Down Estates or any of their
property.

       7.6.     Undeliverable Distributions

                In the event that any Distribution to any Holder is returned as undeliverable, or no
address for such Holder is found in the Debtors’ records, no further Distribution to such Holder
shall be made unless and until the Plan Administrator or the Distribution Agent is notified in
writing of the then-current address of such Holder, at which time such Distribution shall be made
to such Holder not less than 30 days thereafter. Undeliverable Distributions shall remain in the
possession of the Plan Administrator or the Distribution Agent until such time as such
Distribution becomes deliverable or such Distribution reverts to the Wind Down Estates or is
canceled pursuant to Section 7.7 and shall not be supplemented with any interest, dividends or
other accruals of any kind. Nothing contained herein shall require the Plan Administrator to
attempt to locate any Holder of an Allowed Claim whose Distribution is declared an
undeliverable or Unclaimed Distribution.


                                                 -40-
              Case 22-11068-JTD         Doc 2100      Filed 07/31/23   Page 59 of 80




       7.7.     Reversion

                Any Distribution under the Plan, including Distributions made by the Plan
Administrator or the Distribution Agent in accordance with Section 7.4, that is an Unclaimed
Distribution for a period of six months thereafter, shall be deemed unclaimed property under
section 347(b) of the Bankruptcy Code, and such Unclaimed Distribution shall revest in the
Wind Down Estates as Plan Assets with respect to Unclaimed Distributions on account of
Claims. Upon such revesting, the Claim of any Holder or its successors and assigns with respect
to such property shall be canceled and forever barred, notwithstanding any applicable federal or
state escheat, abandoned or unclaimed property laws to the contrary.

       7.8.     Surrender of Canceled Instruments or Securities

                 Except as otherwise provided in the Plan, on the Effective Date, or as soon as
reasonably practicable thereafter, each holder of a Certificate shall be deemed to have
surrendered such Certificate to the Distribution Agent. Subject to the foregoing sentence,
regardless of any actual surrender of a Certificate, the deemed surrender shall have the same
effect as if its Holder had actually surrendered such Certificate, and such Holder shall be deemed
to have relinquished all rights, Claims and Interests with respect to such Certificate.
Notwithstanding the foregoing paragraph, this Section 7.8 shall not apply to any Claims
reinstated pursuant to the terms of the Plan.

       7.9.     Setoffs

                Except as otherwise provided herein, a Final Order of the Bankruptcy Court, or as
agreed to by the Holder and the Debtors or the Plan Administrator, as applicable, pursuant to the
Bankruptcy Code (including section 553), applicable non-bankruptcy law, or such terms as may
be agreed to by the Holder and the Debtors or the Plan Administrator, as applicable, may,
without any further notice to, or action, order or approval of the Bankruptcy Court, set off
against any Allowed Claim and the Distributions to be made on account of such Allowed Claim
(before any Distribution is made on account of such Allowed Claim), any claims, rights and
Causes of Action of any nature that such Debtor or the Plan Administrator, as applicable, may
hold against the Holder of such Allowed Claim, to the extent such claims, rights or Causes of
Action against such Holder have not been otherwise compromised or settled on or prior to the
Effective Date (whether pursuant to the Plan or otherwise); provided that neither the failure to
effect such a setoff nor the allowance of any Claim pursuant to the Plan shall constitute a waiver
or release by such Debtor or the Plan Administrator of any such Claims, rights and Causes of
Action that such Debtor or the Plan Administrator may possess against such Holder. In no event
shall any Holder of a Claim be entitled to set off any Claim against any Claim, right, or Cause of
Action of a Debtor or the Plan Administrator, as applicable, unless such Holder has filed a Proof
of Claim in these Chapter 11 Cases by the applicable Claims Bar Date preserving such setoff and
a Final Order of the Bankruptcy Court has been entered, authorizing and approving such setoff.

       7.10.    No Interest on Claims

             Unless otherwise specifically provided for herein or by Final Order of the
Bankruptcy Court, postpetition interest shall not accrue or be paid on Claims against the Debtors,


                                               -41-
               Case 22-11068-JTD              Doc 2100          Filed 07/31/23      Page 60 of 80




and no Holder of any Claim against the Debtors shall be entitled to interest accruing on or after
the Petition Date on any such Claim. Additionally, and without limiting the foregoing, interest
shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective
Date to the date a final Distribution is made on account of such Disputed Claim, if and when
such Disputed Claim becomes an Allowed Claim.

         7.11.    No Payment over the Full Amount

                 In no event shall a Holder of an Allowed Claim receive more than the full
payment of such Allowed Claim. To the extent any Holder has received payment in full with
respect to an Allowed Claim, such Allowed Claim shall be deemed satisfied and expunged from
the claims registry without an objection to such Claim having been filed and without any further
notice to or action, order or approval of the Bankruptcy Court. To the extent that a Holder of an
Allowed Claim receives a Distribution on account of such Claim and receives payment from a
party that is not a Debtor, the Plan Administrator or the Distribution Agent on account of such
Claim, such Holder shall, within 14 days of receipt thereof, repay or return the distribution to the
Plan Administrator or the Distribution Agent, to the extent the Holder’s total recovery on
account of such Claim from the third party and under the Plan exceeds the amount of such Claim
as of the date of any such Distribution under the Plan. The failure of such Holder to timely repay
or return such distribution shall result in the Holder owing the Plan Administrator annualized
interest at the Federal Judgment Rate on such amount owed for each Business Day after the 14-
day grace period specified above until the amount is repaid.

                The Plan Administrator may require any Holder of any Claim to submit
satisfactory evidence that such Holder has not requested or received compensation for the same
losses underlying such Claim in connection with any other judicial or administrative proceeding,
including, without limitation, any proceedings with respect to: [(a) FTX DM, (b) FTX Turkey,
(c) SNG Investments or (d) FTX Europe AG].17 The Plan Administrator may, and may direct the
Distribution Agent to, withhold any Distributions on such Claim until such time as satisfactory
evidence is obtained or appropriate arrangements are in place that ensure no Holder receives
more than any other Holder under the Plan, taking into account potential recoveries of all
Holders.

                As a condition to receiving any Distribution under the Plan, the Plan
Administrator may require Holders of Allowed Dotcom Customer Entitlement Claims, U.S.
Customer Entitlement Claims, NFT Customer Entitlement Claim, General Unsecured Claims,
Dotcom Convenience Claims, U.S. Convenience Claims or General Convenience Claims to
irrevocably and unconditionally assign and transfer to the Plan Administrator all right, title and
interest in any claim or Cause of Action for the same losses that has been or may be made or
asserted in any other judicial or administrative proceeding relating to any Debtor or any Affiliate
of the Debtors, including, without limitation, [FTX DM, FTX Turkey, SNG Investments or FTX
Europe or FTX Europe AG].




17
     Note to Draft: List of entities subject to review and update by the Debtors.


                                                         -42-
            Case 22-11068-JTD         Doc 2100         Filed 07/31/23   Page 61 of 80




       7.12.   Compliance with Tax Requirements

                 In connection with the Plan, to the extent applicable, the Debtors, the Plan
Administrator and the Distribution Agent shall comply with all tax withholding and reporting
requirements imposed on them by any tax law, and all Distributions pursuant to the Plan shall be
subject to such withholding and reporting requirements. Notwithstanding any provision in the
Plan to the contrary, the Debtors, the Plan Administrator and the Distribution Agent shall be
authorized to take all actions reasonably necessary or appropriate to comply with such
withholding and reporting requirements, including withholding in kind, liquidating a portion of
the Distributions to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding Distributions pending receipt of information necessary to
facilitate such Distributions or establishing any other mechanisms that are reasonable and
appropriate. For purposes of the Plan, any withheld amount (or property) shall be treated as if
paid to the applicable Holder. The Plan Administrator reserves the right to allocate all
Distributions made under the Plan in compliance with all applicable wage garnishments,
alimony, child support and other spousal awards, liens and encumbrances. Distributions in full
or partial satisfaction of Allowed Claims shall be allocated first to trust fund-type taxes, then to
other taxes and then to the principal amount of Allowed Claims, with any excess allocated to
unpaid interest that has accrued on such Claims.

       7.13.   Tax Identification, KYC and OFAC Certifications

                Any Holder entitled to receive any Distribution under the Plan shall, upon request,
deliver to the Distribution Agent or such other Entity designated by the Plan Administrator: (a) a
completed IRS Form W-9 or appropriate IRS Form W-8, as applicable; (b) a certification that the
Holder is not a person or entity with whom it is illegal for a U.S. person to do business under
Office of Foreign Assets Control sanctions regulations and/or the list of Specially Designated
Nationals and Blocked Persons and (c) know-your-customer information of the Holder of such
Claim, which (i) for individuals, may include, among other things, full name including any alias,
date of birth, address and proof of address, identification and identification-related documents,
nationality, phone number, email address, occupation, bank account information or wallet
address, social security number (for U.S. citizens) and facial liveness and (ii) for institutional
Holders, may include, among other things, company name, registration information, tax
identification number, principal business address and phone number, business email address,
information on the nature of the business and principal business activity, entity size, source of
wealth/source of funds, annual revenue/profit, authorized signer, identity of ultimate beneficial
owners, identity of directors and/or members of management, bank account information or wallet
address and, for any ultimate beneficial owners, directors or members of management, similar
identification information and records as are collected for individual Holders who are natural
persons (collectively, the “Pre-Distribution Requirements”). If a request for Pre-Distribution
Requirements has not been satisfied within 30 days thereafter, a second request shall be sent. If
the Holder fails to comply with the Pre-Distribution Requirements before the date that is 60 days
after a second request is made, such Holder shall be deemed to have forfeited its right to receive
Distributions, and shall be forever barred and enjoined from asserting any right to Distributions
made prior to the Plan Administrator receiving its executed Pre-Distribution Requirements. Any
Distributions that are forfeited pursuant to this provision shall revest in the Wind Down Estates
as Plan Assets.

                                                -43-
              Case 22-11068-JTD        Doc 2100       Filed 07/31/23   Page 62 of 80




8.     CLAIMS ADMINISTRATION PROCEDURES

       8.1.     Objections to Claims

                 Any objections to Claims (other than Administrative Claims) shall be filed on or
before the Claims Objection Deadline. The Claims Objection Deadline may be extended by the
Plan Administrator, by filing a motion to extend on or before the Claims Objection Deadline.
The Plan Administrator shall have standing to object to Claims. Except as otherwise set forth in
the Plan, after the Effective Date, the Plan Administrator and Wind Down Estate shall have and
retain any and all rights and defenses the applicable Debtor had with respect to any Claim
immediately before the Effective Date.

       8.2.     Estimation of Claims

                 Before or after the Effective Date, the Debtors or the Plan Administrator, as
applicable, may, within their reasonable discretion, at any time request that the Bankruptcy Court
estimate any Disputed Claim that is contingent or unliquidated pursuant to section 502(c) of the
Bankruptcy Code, regardless of whether any party previously has objected to such Claim or
whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall
retain jurisdiction to estimate any such Claim, including during the litigation of any objection to
any Claim or during the appeal relating to such objection. Notwithstanding any provision
otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that either is
subject to appeal or has not yet been the subject of a Final Order, shall be deemed to be estimated
at zero dollars unless otherwise ordered by the Bankruptcy Court. In the event that the
Bankruptcy Court estimates any contingent or unliquidated Claim, that estimated amount shall
constitute a maximum limitation on such Claim for all purposes under the Plan (including, but
not limited to, for purposes of Distributions).

                Claims may be estimated and subsequently compromised, settled, withdrawn or
resolved by any mechanism approved by the Bankruptcy Court or under the Plan.
Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any Holder of a Claim
that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be
entitled to seek reconsideration of such estimation of such Claim unless the Holder of such
Claim has filed a motion with the Bankruptcy Court requesting the right to seek such
reconsideration on or before 20 calendar days after the date such Claim is estimated by the
Bankruptcy Court.

       8.3.     Expungement and Disallowance of Claims

          8.3.1   Paid, Satisfied, Amended, Duplicated or Superseded Claims

        Any Claim or Interest that has been paid, satisfied, amended, duplicated (by virtue of the
substantive consolidation provided for under this Plan or otherwise), superseded or otherwise
dealt with or treated in the Plan, may be adjusted or expunged on the Claims Register at the
direction of the Plan Administrator without the Plan Administrator having to file an objection,
application, motion, complaint or any other legal proceeding seeking to object to such Claim or
Interest and without any further notice to or action, order or approval of the Bankruptcy Court.


                                               -44-
              Case 22-11068-JTD        Doc 2100         Filed 07/31/23    Page 63 of 80




          8.3.2   Claims by Persons from Whom Property Is Recoverable

        Unless otherwise agreed to by the Debtors, the Plan Administrator or ordered by the
Bankruptcy Court, any Claims held by any Person or Entity from which property is recoverable
under section 542, 543, 550 or 553 of the Bankruptcy Code, or that is a transferee of a transfer
avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549 or 724(a) of the Bankruptcy
Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and any
Holder of such Claim may not receive any Distributions on account of such Claim until such
time as such Cause of Action against that Person or Entity has been resolved.

       8.4.     Amendments to Proofs of Claim

               On or after the Effective Date, a Proof of Claim may not be amended (other than
solely to update or correct the name or address of the Holder of such Claim) without the prior
authorization of the Bankruptcy Court or the Plan Administrator, and any such amended Proof of
Claim filed without such prior authorization shall be deemed disallowed in full and expunged
without any further notice to or action, order or approval of the Bankruptcy Court.

       8.5.     No Distributions Pending Allowance

               If an objection to the amount, validity, priority or classification of a Claim or a
portion thereof is filed or is intended to be filed as set forth in this Article 8 or a Claim otherwise
remains a Disputed Claim, except as otherwise provided in a Final Order of the Bankruptcy
Court, no payment or Distribution provided under the Plan shall be made on account of such
Claim or portion thereof, as applicable, unless and until such Disputed Claim becomes an
Allowed Claim or is otherwise settled or resolved.

       8.6.     Distributions After Allowance

                To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
Distributions (if any) shall be made to the Holder of such Allowed Claim in accordance with the
applicable provisions of the Plan.

       8.7.     Administration Responsibilities

                Except as otherwise specifically provided in the Plan, after the Effective Date the
Plan Administrator shall have the sole authority (subject to the terms of the Plan Administration
Agreement) to (a) file, withdraw or litigate to judgment objections to Claims, (b) settle or
compromise any Disputed Claim without any further notice to or action, order or approval of the
Bankruptcy Court, (c) administer and adjust, or cause to be administered and adjusted, the
Claims Register to reflect any such settlements or compromises without any further notice to or
action, order or approval of the Bankruptcy Court and (d) determine, without the need for notice
to or action, order or approval of the Bankruptcy Court, that a Claim subject to any Proof of
Claim that is filed is Allowed. Nothing in this Section 8.7 shall limit the ability under the
Bankruptcy Code of any party-in-interest to object to any Claim prior to the Claims Objection
Deadline unless otherwise ordered by the Bankruptcy Court.



                                                 -45-
              Case 22-11068-JTD      Doc 2100        Filed 07/31/23   Page 64 of 80




       8.8.     Claims Paid or Payable by Third Parties

                The Debtors or the Plan Administrator, as applicable, shall reduce a Claim, and
such Claim (or portion thereof) shall be disallowed without a Claims objection having to be filed
and without any further notice to or action, order or approval of the Bankruptcy Court, to the
extent that the Holder of such Claim receives payment on account of such Claim from a party
that is not a Debtor or the Plan Administrator. To the extent a Holder of a Claim receives a
Distribution on account of such Claim and also receives payment from a party that is not a
Debtor or the Plan Administrator on account of such Claim, such Holder shall, within 14 days of
receipt thereof, repay or return the Distribution to the applicable Debtor, the applicable Wind
Down Estate, or the Plan Administrator, to the extent the Holder’s total recovery on account of
such Claim from the third party and under this Plan exceeds the amount of such Allowed Claim
as of the applicable Distribution Date.




                                              -46-
              Case 22-11068-JTD       Doc 2100        Filed 07/31/23   Page 65 of 80




9.     CONDITIONS PRECEDENT TO EFFECTIVENESS OF THE PLAN

       9.1.     Conditions Precedent to the Effective Date

               It shall be a condition to the Effective Date of the Plan that the following
conditions shall have been satisfied or waived pursuant to the provisions of this Article 9.

                (a)    Confirmation Order. The Confirmation Order shall have been entered in a
                       form and substance reasonably acceptable to the Debtors and there shall
                       not be a stay or injunction in effect with respect thereto.

                (b)    Professional Fee Escrow Account. The Debtors shall have established and
                       funded the Professional Fee Escrow Account in accordance with Section
                       3.4.2.

                (c)    Professional Fee Payments. All professional fees and expenses of the
                       Debtors, the Committee and [•] as of the Effective Date that were due and
                       payable under an order of the Bankruptcy Court shall have been paid in
                       full, other than any Professional Claims subject to approval by the
                       Bankruptcy Court.

                (d)    Plan Documents. The Plan, Plan Supplement, Confirmation Order and all
                       documents related thereto shall be in form and substance reasonably
                       acceptable to the Debtors and any conditions precedent thereto shall have
                       been satisfied, waived or satisfied contemporaneously with the occurrence
                       of the Effective Date.

                (e)    Necessary Documents. All actions, documents, certificates and
                       agreements necessary to implement the Plan shall have been effected or
                       executed and delivered, as applicable.

                (f)    Necessary Authorizations. All authorizations, consents, regulatory
                       approvals, rulings or documents that are necessary to implement and
                       effectuate the Plan as of the Effective Date shall have been received,
                       waived or otherwise resolved.

                (g)    Governmental Action. No governmental entity or federal or state court of
                       competent jurisdiction shall have enacted, issued, promulgated, enforced
                       or entered any law or order (whether temporary, preliminary or
                       permanent), in any case which is in effect and which prevents or prohibits
                       consummation of the Plan or any of the other transactions contemplated
                       hereby and no governmental entity shall have instituted any action or
                       proceeding (which remains pending at what would otherwise be the
                       Effective Date) seeking to enjoin, restrain or otherwise prohibit
                       consummation of the transactions contemplated by the Plan.




                                               -47-
              Case 22-11068-JTD        Doc 2100       Filed 07/31/23   Page 66 of 80




       9.2.     Waiver of Conditions

                The Debtors may waive conditions to the occurrence of the Effective Date set
forth in this Article 9 at any time.

       9.3.     Simultaneous Transactions

               Except as otherwise expressly set forth in the Plan, the Confirmation Order or a
written agreement by the Debtors, each action to be taken on the Effective Date shall be deemed
to occur simultaneously as part of a single transaction.

       9.4.     Effect of Non-Occurrence of the Effective Date

                If the Effective Date does not occur by [•] or such later date as the Debtors
determine, the Plan shall be null and void in all respects and nothing contained in the Plan or the
Disclosure Statement shall constitute a waiver or release of any claims by or Claims against or
Interests in the Debtors, prejudice in any manner the rights of the Debtors or any other Person, or
constitute an admission, acknowledgment, offer or undertaking by the Debtors or any Person.

       9.5.     Notice of Effective Date

              As soon as practicable after the Effective Date has occurred, the Plan
Administrator shall file with the Bankruptcy Court a notice specifying the Effective Date.




                                               -48-
            Case 22-11068-JTD         Doc 2100         Filed 07/31/23   Page 67 of 80




10.    SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

       10.1.   Subordinated Claims

                 The allowance, classification and treatment of all Allowed Claims and Interests
and the respective Distributions and treatments under the Plan take into account, conform to and
satisfy the relative priority and rights of the Claims and Interests in each Class in connection with
any contractual, legal and equitable subordination rights relating thereto; however, the Debtors
reserve the right to reclassify or modify the treatment of any Allowed Claim or Interest in
accordance with any contractual, legal or equitable subordination relating thereto, unless
otherwise provided in a settlement agreement concerning such Allowed Claim or Interest.

       10.2.   Non-Discharge of Debtors; Resolution of Claims and Termination of Interests

                 In accordance with section 1141(d)(3) of the Bankruptcy Code, the Confirmation
Order will not discharge the Debtors. However, no Holder of a Claim may receive any payment
from, or seek recourse against, the Plan Administrator, the Wind Down Estate or any Plan Assets
that are to be distributed under the Plan other than Plan Assets required to be distributed to that
Holder pursuant to the Plan. Pursuant to and to the fullest extent permitted by the Bankruptcy
Code, except as otherwise specifically provided in the Plan or the Confirmation Order, the
treatment of Claims and Interests under the Plan shall be in full and final satisfaction, settlement,
release and termination, as of the Effective Date, of all Claims of any nature whatsoever, whether
known or unknown, against, and Interests in, the Debtors, any property of the Estates, the Plan
Administrator or any property of the Wind Down Estates, including all Claims of the kind
specified in section 502(g), 502(h) or 502(i) of the Bankruptcy Code, in each case whether or
not: (a) a Proof of Claim or Interest based upon such Claim, debt, right, liability, obligation or
Interest is filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or
Interest based upon such Claim, debt, right, liability, obligation or Interest is Allowed pursuant to
section 502 of the Bankruptcy Code or (c) the Holder of such a Claim, liability, obligation or
Interest has accepted the Plan. Except as otherwise provided herein, any default by the Debtors
or their Affiliates with respect to any Claim that existed immediately prior to or on account of
the filing of these Chapter 11 Cases shall be deemed cured on the Effective Date.

       10.3.   Release of Liens

                Except as otherwise provided in the Plan or in any contract, instrument,
release or other agreement or document entered into or delivered in connection with the
Plan, on the Effective Date, all mortgages, deeds of trust, Liens, pledges or other security
interests against any property of the Estates shall be fully released and canceled, and all of
the rights, title and interest of any Holder of such mortgages, deeds of trust, Liens, pledges
or other security interests shall revert to the Wind Down Estates and their successors and
assigns. Any Holder of such mortgage, deed of trust, Lien, pledge or other security interest
(and the applicable agents for such holder) shall be authorized and directed to release any
collateral or other property of any Debtor (including any cash collateral and possessory
collateral) held by such Holder (and the applicable agents for such holder), and to take
such actions as may be reasonably requested by the Plan Administrator to evidence such
release, including the execution, delivery and filing or recording of such releases. The


                                                -49-
           Case 22-11068-JTD        Doc 2100        Filed 07/31/23   Page 68 of 80




presentation or filing of the Confirmation Order to or with any federal, state, provincial, or
local agency or department shall constitute good and sufficient evidence of, but shall not be
required to effect, the termination of such Liens.

       10.4.   Debtors’ Release

               Except as otherwise specifically provided in the Plan with respect to the
Preserved Potential Claims, for good and valuable consideration, including the service of
the Released Parties to facilitate the administration of the Chapter 11 Cases and the
implementation of the orderly liquidation contemplated by the Plan, on and after the
Effective Date, to the fullest extent permitted by applicable law, the Released Parties are
hereby conclusively, absolutely, unconditionally, irrevocably and forever released, waived
and discharged by the Debtors, the Plan Administrator and the Estates, including any
successor to, or assignee of the Debtors or any Estate representative, from all claims,
obligations, rights, suits, damages, Causes of Action, remedies and liabilities whatsoever,
including any derivative claims asserted or assertable on behalf of a Debtor, and its
successors, assigns and representatives, whether known or unknown, foreseen or
unforeseen, liquidated or unliquidated, contingent or fixed, existing or hereafter arising, in
law, at equity or otherwise, whether for indemnification, tort, breach of contract, violations
of federal or state securities laws or otherwise, including those that any of the Debtors, the
Plan Administrator or the Estates would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest or any other Person, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors, the Estates, the conduct of the businesses of the Debtors,
these Chapter 11 Cases, the purchase, sale or rescission of the purchase or sale of any
Security of the Debtors, the release of any mortgage, lien or security interest, the
distribution of proceeds, the subject matter of, or the transactions or events giving rise to,
any Claim or Interest that is treated in the Plan, the administration of Claims and Interests
prior to or during these Chapter 11 Cases, the negotiation, formulation or preparation of
the Plan, the Plan Supplement, the Disclosure Statement or, in each case, related
agreements, instruments or other documents, any action or omission with respect to
Intercompany Claims, any action or omission as an officer, director, agent, representative,
fiduciary, controlling person, member, manager, affiliate or responsible party, or upon any
other act or omission, transaction, agreement, event or other occurrence taking place on or
before the Effective Date of the Plan, other than claims or liabilities arising out of or
relating to any act or omission of a Released Party to the extent such act or omission is
determined by a Final Order to have constituted gross negligence, willful misconduct,
fraud, or a criminal act; provided that the release under this Section 10.4 shall not apply to
any Excluded Party, nor to any Preserved Potential Claims to the extent such Preserved
Potential Claims are brought by and for the benefit of the Wind Down Estates with the
approval of the Plan Administrator, unless otherwise specifically provided in the Plan or
the Plan Supplement. Nothing in the Plan or Confirmation shall affect any releases
previously granted or approved by the Court.




                                             -50-
           Case 22-11068-JTD        Doc 2100        Filed 07/31/23    Page 69 of 80




       10.5.   Voluntary Release by Holders of Claims and Interests

                For good and valuable consideration, including the service of the Released
Parties to facilitate the administration of the Chapter 11 Cases, the implementation of the
Plan, and the distribution of proceeds, on and after the Effective Date, to the fullest extent
permitted by applicable law, the Releasing Parties (regardless of whether a Releasing Party
is a Released Party) shall be deemed to conclusively, absolutely, unconditionally,
irrevocably and forever release, waive and discharge the Released Parties of any and all
claims, obligations, rights, suits, damages, Causes of Action, remedies and liabilities
whatsoever, including any derivative claims asserted or assertable on behalf of a Debtor,
and its successors, assigns and representatives, whether known or unknown, foreseen or
unforeseen, liquidated or unliquidated, contingent or fixed, existing or hereafter arising, in
law, at equity or otherwise, whether for indemnification, tort, breach of contract, violations
of federal or state securities laws or otherwise, including those that any of the Debtors, the
Plan Administrator or the Estates would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest or any other Person, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors, the Estates, the conduct of the businesses of the Debtors,
these Chapter 11 Cases, the purchase, sale or rescission of the purchase or sale of any
Security of the Debtors, the subject matter of, or the transactions or events giving rise to,
any Claim or Interest that is treated in the Plan, the Plan Supplement or the Disclosure
Statement, the administration of Claims and Interests prior to or during these Chapter 11
Cases, the negotiation, formulation, or preparation of the Plan, the Plan Supplement, the
Disclosure Statement or, in each case, related agreements, instruments or other documents,
any action or omission with respect to Intercompany Claims, any action or omission as an
officer, director, agent, representative, fiduciary, controlling person, member, manager,
affiliate or responsible party, or upon any other act or omission, transaction, agreement,
event or other occurrence taking place on or before the Effective Date of the Plan, other
than claims or liabilities arising out of or relating to any act or omission of a Released
Party to the extent such act or omission is determined by a Final Order to have constituted
gross negligence, willful misconduct, fraud, or a criminal act. Nothing in this Section 10.5
shall cause the release of any Excluded Party nor any Preserved Potential Claims that are
otherwise transferred to, and may be prosecuted by, the Wind Down Estate pursuant to the
terms of this Plan.

       10.6.   Scope of Releases

               Each Person providing releases under the Plan, including the Debtors, the
Plan Administrator, the Estates and the Releasing Parties, shall be deemed to have granted
the releases set forth in the Plan notwithstanding that such Person may hereafter discover
facts in addition to, or different from, those which it now knows or believes to be true, and
without regard to the subsequent discovery or existence of such different or additional
facts, and such Person expressly waives any and all rights that it may have under any
statute or common law principle which would limit the effect of such releases to those
claims or causes of action actually known or suspected to exist at the time of execution of
such release.


                                             -51-
           Case 22-11068-JTD        Doc 2100        Filed 07/31/23   Page 70 of 80




       10.7.   Exculpation

               Notwithstanding anything herein to the contrary, as of the Effective Date, the
Debtors and their directors, officers, employees, attorneys, investment bankers, financial
advisors, restructuring advisors and other professional advisors, representatives and
agents will be deemed to have solicited acceptances of this Plan in good faith and in
compliance with the applicable provisions of the Bankruptcy Code, including section
1125(e) of the Bankruptcy Code and any applicable non-bankruptcy law, rule or regulation
governing the adequacy of disclosure in connection with the solicitation.

               As of the Effective Date, to the fullest extent permitted by applicable law, and
without affecting or limiting the releases set forth in Section 10.4 or Section 10.5 of this
Plan, the Exculpated Parties shall neither have nor incur any liability to any Entity for any
act or omission in connection with, related to, or arising out of these Chapter 11 Cases,
including (a) the operation of the Debtors’ businesses during the pendency of these Chapter
11 Cases; (b) the administration and adjudication of Claims and Interests during these
Chapter 11 Cases; (c) formulating, negotiating, preparing, disseminating, implementing,
administering, confirming and/or effecting the Plan, the Disclosure Statement, the Plan
Supplement or any related contract, instrument, release or other agreement or document
created or entered into in connection with the Chapter 11 Cases (including the solicitation
of votes for the Plan and other actions taken in furtherance of Confirmation and
Consummation of the Plan, the trading or sale of Cryptocurrencies and tokens in
connection with the Chapter 11 Cases, the offer and issuance of any securities under or in
connection with the Plan and the distribution of property, Digital Assets, or tokens under
the Plan); or (d) any other transaction, agreement, event, or other occurrence related to
these Chapter 11 Cases taking place on or before the Effective Date, other than liability
resulting from any act or omission that is determined by Final Order to have constituted
gross negligence, willful misconduct, fraud or a criminal act. Notwithstanding anything
contained herein to the contrary, the foregoing exculpation does not exculpate any
Excluded Party. Nothing in the Plan or Confirmation shall affect any exculpation orders
previously granted or approved by the Court.

       10.8.   Injunction

               Except as otherwise expressly provided in the Plan or Confirmation Order
with respect to Preserved Potential Claims, the satisfaction and release pursuant to this
Article 10 shall also act as a permanent injunction against any Person who has held, holds
or may hold Claims, Interests or Causes of Action from (a) commencing or continuing any
action to collect, enforce, offset, recoup or recover with respect to any Claim, liability,
obligation, debt, right, Interest or Cause of Action released, settled or exculpated under the
Plan or the Confirmation Order to the fullest extent authorized or provided by the
Bankruptcy Code, including to the extent provided for or authorized by sections 524 or
1141 thereof, (b) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order on account of or in connection with or with respect
to any such Claim or Interest; (c) creating, perfecting or enforcing any encumbrance of any
kind on account of or in connection with or with respect to any such Claims or Interests;
and (d) asserting any right of setoff, subrogation or recoupment of any kind on account of

                                             -52-
            Case 22-11068-JTD         Doc 2100         Filed 07/31/23   Page 71 of 80




or in connection with or with respect to any such Claim or Interest, notwithstanding an
indication of a Claim or Interest or otherwise that such Holder asserts, has or intends to
preserve any right of setoff pursuant to applicable law or otherwise, against any Plan Asset,
the Wind Down Estates, any Holder of a Claim or Interest or any initial or subsequent
transferee. Notwithstanding anything to the contrary in the Plan, all Holders of Claims,
Interests or Causes of Action are enjoined from interfering with the Distributions
contemplated by the Plan and from asserting any Claim or Cause of Action expressly
preserved and vested exclusively in the Wind Down Estates as of the Effective Date.

               .

       10.9.   Limitations on Exculpations and Releases

               Notwithstanding anything to the contrary herein, none of the releases or
exculpations set forth herein shall operate to waive or release any obligation or Causes of
Action of any Person or Entity: (a) arising under any contract, instrument, agreement,
release or document delivered pursuant to the Plan or documents, agreements or
instruments executed in connection therewith, including all post-Effective Date obligations
or (b) expressly set forth in and preserved by the Plan, the Plan Supplement or related
documents, including the Preserved Potential Claims.

11.    MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

       11.1.   Modification of Plan

                Subject to the limitations contained in the Plan: (a) the Debtors reserve the right,
in accordance with the Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan
prior to the entry of the Confirmation Order, including amendments or modifications with
respect to the treatment of Classes 4A, 4B, 4C, 5, 6A, 6B, 6C and 9 to satisfy section 1129(b) of
the Bankruptcy Code and (b) after the entry of the Confirmation Order, the Debtors or the Plan
Administrator, as applicable, may, upon order of the Bankruptcy Court, (i) amend or modify the
Plan, in accordance with section 1127(b) of the Bankruptcy Code or (ii) remedy any defect or
omission or reconcile any inconsistency in the Plan in such manner as may be necessary to carry
out the purpose and intent of the Plan.

       11.2.   Effect of Confirmation on Modification

                Entry of a Confirmation Order shall mean that all modifications and amendments
to the Plan since the solicitation thereof are approved pursuant to section 1127(a) of the
Bankruptcy Code, and do not require additional disclosure or re-solicitation under Bankruptcy
Rule 3019.

       11.3.   Revocation of Plan

                The Debtors reserve the right to revoke or withdraw the Plan prior to the Effective
Date and to file subsequent plans of reorganization or liquidation. If the Debtors revoke or
withdraw the Plan, if the Confirmation Order is not entered or the Effective Date does not occur,
then: (a) the Plan shall be null and void in all respects; (b) any settlement or compromise

                                                -53-
            Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 72 of 80




embodied in the Plan, assumption or rejection of executory contracts or unexpired leases affected
by the Plan, and any document or agreement executed pursuant to the Plan shall be deemed null
and void; and (c) nothing contained in the Plan shall: (i) constitute a waiver or release of any
Claims by or Claims against, or any Interests in, any Debtor or any other Entity; (ii) prejudice in
any manner the rights of the Debtors or any other Entity; or (iii) constitute an admission of any
sort by the Debtors or any other Entity.




                                               -54-
            Case 22-11068-JTD         Doc 2100         Filed 07/31/23   Page 73 of 80




12.    RETENTION OF JURISDICTION

       12.1.   Retention of Jurisdiction

               Notwithstanding the entry of the Confirmation Order and the occurrence of the
Effective Date, the Bankruptcy Court shall retain its existing exclusive jurisdiction over all
matters arising in or out of, or related to, these Chapter 11 Cases or the Plan pursuant to sections
105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

               (a)     Allow, disallow, determine, liquidate, classify, estimate or establish the
                       priority, secured or unsecured status, or amount of any Claim or Interest,
                       including the resolution of any request for payment of any General
                       Administrative Claim and the resolution of any and all objections to the
                       secured or unsecured status, priority, amount or allowance of Claims or
                       Interests;

               (b)     Decide and resolve all matters related to the granting and denying, in
                       whole or in part, of any applications for allowance of compensation or
                       reimbursement of expenses to Professionals authorized pursuant to the
                       Bankruptcy Code or the Plan;

               (c)     Resolve any matters related to: (i) the assumption, assumption and
                       assignment, or rejection of any Executory Contract or Unexpired Lease to
                       which a Debtor is a party or with respect to which a Debtor may be liable
                       and to hear, determine and, if necessary, liquidate, any Claims arising
                       therefrom, including any disputes regarding cure obligations; and (ii) any
                       dispute regarding whether a contract or lease is, or was, executory or
                       expired;

               (d)     Ensure that Distributions to Holders of Allowed Claims are accomplished
                       pursuant to the Plan and adjudicate any and all disputes from, or relating
                       to Distributions under the Plan;

               (e)     Adjudicate, decide or resolve any motions, adversary proceedings,
                       contested or litigated matters, and any other matters and Causes of Action,
                       including the Preserved Potential Claims, and grant or deny any
                       applications, involving a Debtor that may be pending before the
                       Bankruptcy Court on the Effective Date;

               (f)     Adjudicate, decide or resolve any and all matters related to section 1141 of
                       the Bankruptcy Code;

               (g)     Enter and implement such orders as may be necessary or appropriate to
                       execute, implement or consummate the provisions of the Plan and all
                       contracts, instruments, releases, indentures and other agreements or
                       documents created in connection with the Plan, Plan Supplement or the
                       Disclosure Statement;


                                                -55-
Case 22-11068-JTD      Doc 2100         Filed 07/31/23   Page 74 of 80




  (h)   Enter, adjudicate and enforce any order for the sale of property pursuant to
        section 363, 1123 or 1146(a) of the Bankruptcy Code

  (i)   Adjudicate, decide or resolve any and all disputes as to the ownership of
        any Claim or Interest;

  (j)   Issue injunctions, enter and implement other orders or take such other
        actions as may be necessary or appropriate to restrain interference by any
        Person or Entity with enforcement of the Plan;

  (k)   Resolve any cases, controversies, suits, disputes or Causes of Action with
        respect to the existence, nature and scope of the releases, injunctions and
        other provisions contained in the Plan, and enter such orders as may be
        necessary or appropriate to implement and enforce such releases,
        injunctions and other provisions;

  (l)   Enter and implement such orders as are necessary or appropriate if the
        Confirmation Order is for any reason modified, stayed, reversed, revoked
        or vacated;

  (m)   Determine any other matters that may arise in connection with or relate to
        the Plan, the Plan Supplement, the Plan Administration Agreement, the
        Disclosure Statement, the Confirmation Order, or any contract, instrument,
        release, indenture or other agreement or document created in connection
        with the Plan, the Plan Supplement or the Disclosure Statement;

  (n)   Enter an order or final decree concluding or closing these Chapter 11
        Cases;

  (o)   Consider any modifications of the Plan, to cure any defect or omission, or
        to reconcile any inconsistency in any Bankruptcy Court order, including
        the Confirmation Order;

  (p)   Hear and determine disputes, cases, controversies or Causes of Action
        arising in connection with the interpretation, implementation or
        enforcement of the Plan, including the releases or the Confirmation Order,
        including disputes arising under agreements, documents or instruments
        executed in connection with the Plan;

  (q)   Hear and determine all disputes relating to any liability arising out of the
        termination of employment or the termination of any employee or
        retirement benefit program, regardless of whether such termination
        occurred prior to or after the Effective Date;

  (r)   Enforce and adjudicate all orders previously entered by the Bankruptcy
        Court; and

  (s)   Hear any other matter not inconsistent with the Bankruptcy Code.

                                 -56-
            Case 22-11068-JTD          Doc 2100        Filed 07/31/23   Page 75 of 80




13.    MISCELLANEOUS PROVISIONS

       13.1.   Immediate Binding Effect

                Notwithstanding Bankruptcy Rule 3020(e), 6004(g) or 7062 or otherwise, upon
the occurrence of the Effective Date, the terms of the Plan and the Plan Supplement shall be
immediately effective and enforceable and deemed binding upon the Debtors, the Plan
Administrator and any and all Holders of Claims and Interests (irrespective of whether Holders
of such Claims or Interests are deemed to have accepted the Plan), all Entities that are parties to
or are subject to the settlements, compromises, releases and injunctions described in the Plan,
each Entity acquiring property under the Plan and any and all non-Debtor parties to Executory
Contracts and Unexpired Leases with the Debtors.

       13.2.   Additional Documents; Further Assurances

                On or before the Effective Date, the Debtors may file with the Bankruptcy Court
such agreements and other documents as may be necessary or appropriate to effectuate and
further evidence the terms and conditions of the Plan. The Debtors, the Plan Administrator and
all Holders of Claims or Interests receiving Distributions pursuant to the Plan and all other
parties-in-interest shall, from time to time, prepare, execute and deliver any agreements or
documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of the Plan or the Confirmation Order.

       13.3.   Reservation of Rights

                 Except as expressly set forth herein, the Plan shall have no force or effect unless
and until the Bankruptcy Court enters the Confirmation Order. Neither the filing of the Plan, any
statement or provision contained herein, nor the taking of any action by a Debtor or any other
Entity with respect to the Plan shall be or shall be deemed to be an admission or waiver of any
rights of: (a) any Debtor with respect to the Holders of Claims or Interests or any other Entity or
(b) any Holder of a Claim or an Interest or any other Entity prior to the Effective Date.

       13.4.   Successors and Assigns

               The rights, benefits and obligations of any Entity named or referred to herein shall
be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or
assign of such Entity.

       13.5.   Term of Injunction or Stays

                Unless otherwise provided in the Plan or in the Confirmation Order, all
injunctions or stays in effect in these Chapter 11 Cases pursuant to section 105 or 362 of the
Bankruptcy Code or any order of the Bankruptcy Court, and extant on the Confirmation Date
(excluding any injunctions or stays contained in the Plan or the Confirmation Order), shall
remain in full force and effect until the Effective Date. All injunctions or stays contained in the
Plan or the Confirmation Order shall remain in full force and effect in accordance with their
terms.


                                                -57-
            Case 22-11068-JTD         Doc 2100         Filed 07/31/23   Page 76 of 80




       13.6.   Entire Agreement

               On the Effective Date, the Plan and the Plan Supplement shall supersede all
previous and contemporaneous negotiations, promises, covenants, agreements, understandings
and representations with respect to the subject matter hereof and thereof, all of which have
become merged and integrated into the Plan.

       13.7.   Exhibits

                All exhibits and documents included in the Plan Supplement are incorporated into
and are a part of the Plan as if set forth in full in the Plan. Copies of such exhibits and
documents may be obtained upon written request to the Debtors’ counsel at the address below or
by downloading such exhibits and documents from the website of the Debtors’ Notice and
Claims Agent, at https://restructuring.ra.kroll.com/FTX/ or the Bankruptcy Court’s electronic
docket for the Debtors’ Chapter 11 Cases at https://.ecf.deb.uscourts.gov/ (a PACER login and
password are required and can be obtained through the PACER Service Center at
www.pacer.uscourts.gov). In addition, copies of such exhibits and documents may be requested
from the Notice and Claims Agent at (888) 482-0049 (U.S./Canada) or (646) 440-4176
(International).

       13.8.   Nonseverability of Plan Provisions upon Confirmation

                If, prior to Confirmation, any term or provision of the Plan is held by the
Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court shall have the
power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void or unenforceable, and such term or provision shall then be applicable as altered
or interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of
the terms and provisions of the Plan will remain in full force and effect and will in no way be
affected, impaired or invalidated by such holding, alteration or interpretation. The Confirmation
Order shall constitute a judicial determination and shall provide that each term and provision of
the Plan, as it may have been altered or interpreted in accordance with the foregoing is: (a) valid
and enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted or modified
without the consent of the Debtors; and (c) nonseverable and mutually dependent.

       13.9.   Dissolution of Committee

                 On the Effective Date, the Committee shall dissolve and the members thereof
shall be released and discharged from all rights and duties arising from, or related to, the Chapter
11 Cases; provided that the Committee will stay in existence solely for the limited purpose of
(a) applications filed pursuant to sections 330 and 331 of the Bankruptcy Code and (b) motions
or litigation, including pending appeals, seeking enforcement of the provisions of the Plan or
under the Confirmation Order; provided, further, that, with respect to pending appeals and
related proceedings, the Committee shall continue to comply with sections 327, 328, 329, 330,
331 and 1103 of the Bankruptcy Code and the Professional Fee Order in seeking compensation
for services rendered.



                                                -58-
            Case 22-11068-JTD         Doc 2100        Filed 07/31/23   Page 77 of 80




       13.10. Termination of Fee Examiner’s Appointment

                Upon the resolution of all applications filed pursuant to sections 330 and 331 of
the Bankruptcy Code by professionals subject to review by the Fee Examiner, the Fee
Examiner’s appointment shall terminate, and the Fee Examiner shall be released and discharged
from all rights and duties arising from, or related to, the Chapter 11 Cases.

       13.11. Debtors’ Directors and Officers

                On the Effective Date, each of the Debtors’ directors and officers shall be released
and discharged from their duties and terminated automatically without the need for any corporate
action or approval and without the need for any corporate filings and shall have no continuing
obligations to the Debtors following the occurrence of the Effective Date.

       13.12. Post-Confirmation Operating Reports

                The Plan Administrator, on behalf of the Debtors and the Wind Down Estates,
shall file and serve on the U.S. Trustee quarterly reports of the disbursements made pursuant to
the Plan, until each of the Chapter 11 Cases are converted, dismissed or closed by entry of a final
decree. Any such reports shall be prepared consistent with (both in terms of content and format)
the applicable Bankruptcy Court and U.S. Trustee’s guidelines for such matters.

       13.13. Closing of Chapter 11 Cases

               The Plan Administrator shall, promptly after the full administration of these
Chapter 11 Cases, file with the Bankruptcy Court all documents required by Bankruptcy Rule
3022 and any applicable order of the Bankruptcy Court to close these Chapter 11 Cases. The
Plan Administrator may also, in its reasonable discretion, file the necessary documents to close
any individual Debtor’s case at any appropriate time.

       13.14. Conflicts

               Except as set forth in the Plan, to the extent that any provisions of the Disclosure
Statement, the Plan Supplement or any order of the Bankruptcy Court (other than the
Confirmation Order) referenced in the Plan (or any exhibits, appendices, supplements or
amendments to any of the foregoing), conflicts with or is in any way inconsistent with any
provision of the Plan, the Plan shall govern and control. To the extent any provision of the
Disclosure Statement, the Plan Supplement or any other document referenced in the Plan (or any
exhibits, appendices, supplements or amendments to any of the foregoing) conflicts with or is in
any way inconsistent with the Confirmation Order, the Confirmation Order shall govern and
control.

       13.15. No Stay of Confirmation Order

              The Confirmation Order shall contain a waiver of any stay of enforcement
otherwise applicable, including pursuant to Bankruptcy Rules 3020(e) and 7062.




                                               -59-
            Case 22-11068-JTD         Doc 2100         Filed 07/31/23   Page 78 of 80




       13.16. Waiver or Estoppel

               Each Holder of a Claim or an Interest shall be deemed to have waived any right to
assert any argument, including the right to argue that its Claim or Interest should be Allowed in a
certain amount, in a certain priority, secured or not subordinated by virtue of an agreement made
with the Debtors or their counsel, or any other Entity, if such agreement was not disclosed in the
Plan, the Disclosure Statement or papers filed with the Bankruptcy Court prior to the
Confirmation Date.

       13.17. Post-Effective Date Service

                After the Effective Date, the Debtors are authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that have filed renewed
requests for service after the Effective Date.

       13.18. Notices

                All notices, requests, pleadings and demands to or upon the Debtors to be
effective shall be in writing (including by facsimile transmission) and, unless otherwise
expressly provided herein, shall be deemed to have been duly given or made when actually
delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

                      (a)     If to the Debtors, to:

                      Sullivan & Cromwell LLP
                      125 Broad Street
                      New York, NY 10004
                      Attn: Andrew G. Dietderich
                             James L. Bromley
                             Brian D. Glueckstein
                             Alexa J. Kranzley

                      and

                      Landis Rath & Cobb LLP
                      919 Market Street, Suite 1800
                      Wilmington, Delaware 19801
                      Attn: Adam Landis
                             Kimberly A. Brown
                             Matthew R. Pierce

                      (b)     If to the Committee, to:

                      Paul Hastings LLP
                      200 Park Avenue
                      New York, NY 10166
                      Attn: Kristopher M. Hansen

                                                -60-
Case 22-11068-JTD     Doc 2100          Filed 07/31/23   Page 79 of 80




             Kenneth Pasquale
             Erez E. Gilad
             Gabriel E. Sasson

       and

       Young Conaway Stargatt & Taylor, LLP
       1000 North King Street
       Wilmington, DE 19801
       Attn: Matthew B. Lunn
             Robert F. Poppiti, Jr.


       (c)    If to the U.S. Trustee, to:

       United States Department of Justice
       Office of the United States Trustee
       J. Caleb Boggs Federal Building
       844 N. King Street, Room 2207, Lockbox 35
       Wilmington, DE 19801
       Attn: Juliet Sarkessian
             Benjamin A. Hackman




                                 -61-
          Case 22-11068-JTD   Doc 2100   Filed 07/31/23     Page 80 of 80




Dated: [•], 2023
Wilmington, Delaware


                                   FTX Trading Ltd., on behalf of itself and all other
                                   Debtors

                                   By: DRAFT

                                   Name: John J. Ray III

                                   Title: Chief Executive Officer and Chief
                                          Restructuring Officer
